Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 1 of 67

ST MMC RCR (Tas me rs1 | eet iten

United States Bankruptcy Court for the:

Northern District of Florida ‘

Case number (if known):

Chapter 7
2 Chapter 11
CI Chapter 12
1 chapter 13

Chapter you are filing under:

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

a feet a
are PeRZO |

FILED

‘SUN 14 2024

Clerk, U.S. Bankruptcy Cour
Middle Districhdighesidéthis is an
Tampa Divisasrended filing

12122

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors, For example, if a form asks, “Do you own a car,”
the answer would be yes If either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In Joint cases, one of the spouses must report information as Debfor f and the other as Debtor 2. The

same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
* Information. If more space Is needed, attach a separate sheet to thls form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

ao Identify Yourself

. “., Abo if, ebtor 2 (Spouse Only in a Joint Case):

=. DORIS

First name

©" Middle name

IGLESIAS

Bring your picture
identification te your meeting

“About Debtor1:" |
4. Your full name uw eee
OSCAR
Write the name thatis on your = Firstname
governmentissued picture
identification (for example, -
your driver's license or Middle name
passport). IGLESIAS
Last name

with the trustee. Suffix (Sr, Jr., 1, WW)

Last name

Suffix (Sr. Jr. H,

yh t

Business name (if applicable}

Business name (if applicable}

2. All other names you NONE NONE
have used in the last 8 First name _ First name
years

Middle name - Middle name
Include your married or
maiden names and any .
assumed, trade names and Last name , Lastname
daing business as names. ra
First name * Firstname
Do NOT list the name of any
separate legal entity such as _ Wh
a corporation, partnership, or “Middle name ye Middie name
LLG that is not filing this ae
petition. Last name apa bast name
re

Business name (if applicable}

: Business name (if applicable)

3, Only the last 4 digits of
your Social Security — wx - x -_ 3 g 2 f 5 3 4 1
number or federal OR
Individual Taxpayer
Identification number 9 xx — xx -
(ITIN)
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

Case 8:24-bk-03371-CPM

Doc 1 Filed 06/14/24 Page 2 of 67

Debtor 1 OSCAR IGLESIAS Case NUMber (if known},
First Name Middle Name Last Name
; About Debtor 4: - oe ‘About Dabtor 2 (Spouse Only ina Joint Case): ,
4. Your Employer 2 6.3 3 7 3 6 5 6 : 2 6_3 3 7 3 6 5 6
Identification Number EN 77. -EN OT TT
(EIN), if any.
mn EN
s. Where you live "+ If Debtor 2 lives at a different address:
4534 W LAMBRIGHT ‘ 4534 W LAMBRIGHT
Number Street . Number Street
TAMPA FL 33614 . TAMPA FL 33614
City State ZIP Code ’ City State ZIP Code
HILLSBOROUGH , , HILLSBOROUGH
County *, County

lf your mailing address ts different from the one
above, fill it In here. Note that the court will send
any notices to you at this mailing address.

4534 W LAMBRIGHT

_ If Debtor 2’s mailing address is different from

yours, fill it in here. Note that the court will send

. any notices to this maiting address.

4534 W LAMBRIGHT

this district to file for
bankruptcy

wi Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(4 | have another reason. Explain.
(See 28 U.S.C. § 1408.)

Number Street Number Street

P.O. Box " P.O. Box

TAMPA FL 33614 TAMPA FL 33361

City State ZIP Code City State ZIP Code
6. Why you are choosing Check one: " Check one:

Wi over the last 180 days before filing this petition,

| have lived in this district longer than in any
other district.

(J | have another reason. Explain.
(See 28 U.S.C, § 1408.)

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 3 of 67

Debtor 1 OSCAR

First Name Middle Name

ISLES IAS Case number tf known)

Last Name

a Tell the Court About Your Bankruptcy Case

‘

The chapter of the
Bankruptcy Code you
are choosing to file
under

Check one, (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
for Bankruptcy (Form 2010)). Also, gc to the top of page 1 and check the appropriate box.

\2 Chapter 7

Cl Chapter 11
Chapter 12
C) Chapter 13

How you will pay the fee

i will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order, If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

LJ I need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Installments (Official Form 103A).

QO | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

residence?

s. Have you filed for W No
bankruptcy within the
last 8 years? Lh Yes. District When Case number
MM/ DD/YYYY
District Vnen Case number
MM/ DODIY¥¥YY¥
District When Case number
MMs DDSYYYY
40. Are any bankruptcy W no
cases pending or being :
filed by a spouse who is OU) Yes. Debtor Relationship to you
not filing this case with Distriet When Case number, if known
you, or by a business MM/BD /Y¥YYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known,
MM ‘DDI YYY¥
11. Do you rent your LINc. Goto line 12.

W Yes. Has your landlord obtained an eviction judgment against you?

CY No. Go to line 12.

L) Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy : page 3

Debtor f

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 4 of 67

OSCAR

IGLESIAS

First Name

Middle Name

Case number ¢it mown)

Last Name

eee revert About Any Businesses You Own as a Sole Proprietor

Chapter 11 of the
Bankruptcy Code, and
are you a small business
debtor or a debtor as
defined by 17 U.S. C. §
1182(1)7

For a definition of smai
business debtor, see
11U.S.C. § 101(51D).

12. Are you a sole proprietor No. Go to Part 4.
of any full- or part-time
business? C] Yes. Name and location of business
A sole proprietorship is a :
business you operate as an - -
individual, and Is nota Name of business, if any
separate legal entity such as
a tion, partnershi
pcipora P Shp, OF Number — Street
If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition. City Stale FIP Code
Check the appropriate box to describe your business:
C) Health Care Business (as defined In 11 U.S.C. § 101(27A))
CI Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(2 Stockbroker (as defined in 11 U.S.C, § 101(53A))
C) Commodity Broker (as defined in 11 U.S.C. § 101(6))
ii None of the above
13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a smaif business debtor or a debtor

choosing to proceed under Subchapter V so that it can set appropriate deadiines. If you indicate that you
are a small business debtor cr you are choosing to proceed under Subchapter V, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1}(B).

CO No. 1am not filing under Chapter 11.

W No. tam filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

C) Yes. tam filing under Chapter 11, |am a small business debtor according to the definition in the Bankruptcy
Code, and I do not choose to proceed under Subchapter V of Chapter 11.

C] Yes. fam filing uncer Chapter 11, | am a debtor according to the definition in § 1182(1) of the
Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 4

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 5 of 67

Debtor 1 Os CAR ISL ESIAS Case number tf known),

First Name Middle Name Last Name

a Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

144. Do youownorhaveany [No

roperty that poses or is
ele oed to pose a threat Cl Yes. What is the hazard?

of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is It needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?
Where is the property?

Number Street

City State ZIP Cede

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 5
Debtor 1

eo Explain Your Efforts to Receive 2 Briefing About Gredit Counseling

16.

Case 8:24-bk-03371-CPM Doc1_ Filed 06/14/24 Page 6 of 67

OSCAR

Fint Name

Middle Name

IGLESIAS

Name

Case number (if mown),

Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

You must check one:

bd | received a briefing from an approved credit
counsoling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

( t received a briefing from an approved credit
counseling agency within the 180 days before |

filed this bankruptcy petition, but ! do not havea :

certificate of completion.

Within 14 days after you file this bankruptcy petition, —
you MUST file a copy of the certificate and payment {

plan, if any.

C1 | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtaln those services during the 7
days after | made my request, and exigent
circumstances morit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissafisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court Is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed. :

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

Cd 1am net required to recelve a briefing about
credit counseling because of:

Cl) Incapacity.
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

oO Disabllity, My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so,

UO Active duty. | am currently on active military’

duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

\ have a mental illness or a mental

"About Debtor 2 (Spous  Only:in a-Joint Case):

whe ee ae ee ne 7 wl

“h You must check one;
os i ia | received a briefing from an approved credit
counseling agency within the 180 days before |
wd filed this bankruptcy petition, and | received a
. certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

:O | recelved a briefing from an approved credit
counseling agency within the 180 days before |
B filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
os you MUST file a copy of the certificate and payment
* plan, if any.

»O | certify that | asked for credit counseling
« services from an approved agency, but was
eS unabie to obtain those services during the 7
° days after | made my request, and exigent
: 4 circumstances merit a 30-day temporary waiver
iy of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the courtis satisfied with your reasons, you must
va still receive a briefing within 30 days after you file.
tag You must file a certificate from the approved

wal agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
bas may be dismissed.

io Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 16
days.

- { Cl tam not required to receive a briefing about
it,  gredit counseling because of:

| have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

QO Incapacity.

Q) Disability. My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the internet, even after |

reasonably tried to do so.

L) Active duty. | am currently on active military

duty in a military combat zone.

, Os , \f you believe you are.not required to receive a
we briefing about credit-counseling, you must file a
motion for waiver of credit counseling with the court.

Official Form 101

Voluntary Petition for Individuals Filing for

Bankruptcy page 6

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 7 of 67

Debtor 1 OSCAR IGLESIAS

Case number (f down)

First Name Middle Nama Last Name

Ey anes These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

UI No. Go to line 16b.
Wi Yes. Go to line 17.

16. What kind of debts do
you have?

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

1 No. Goto line 16c.
CI] Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

NONE

17. Are you filing under
Chapter 7?

Do you estimate that after i Yes. lam filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?

excluded and O No
administrative expenses

C] No. |. am not filing under Chapter 7. Go to line 18.

be worth?

estimate your assets to

$50,001-$100,000
CI $100,001-$500,000
C) $500,001-$1 million

CL) $10,000,001-$50 million
QC) $50,000,001-$100 milfion
L} $100,000,001-$500 million

are paid that funds will be Md Yes
available for distribution
to unsecured creditors?
13, How many creditorsdo J 1-49 CQ) 1,000-5,000 CQ) 25,001-50,000
you estimate that you C) 50-99 LJ 5,001-10,000 LJ 50,001-160,000
owe? C) 100-199 C) 10,001-25,000 CL) More than 100,000
C) 200-999
19. How much do you QC $0-$50,000 LJ $1,000,001-$10 million LJ $500,000,001-$1 billion

LJ $1,000,000,001-$10 billion
CL) $10,000,000,001-$50 billion
C) More than $50 billion

20. How much do you

to be?

estimate your liabilities

C) $0-$50,000

W $50,601-$100,000
Cl $100,001-$500,000
CJ $500,001-$1 million

CY $1,009,001-$10 miltion

C) $10,000,001-$50 million
QC $50,000,001-$100 million
LJ $100,000,001-$500 million

(2 $500,000,001-$1 billion

(J $1,000,000,001-$10 billion
C) $10,000,000,001-$50 billion
CJ More than $59 billion

For you

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

if ! have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

‘ f ?
ignatare of Debtor1 © Signature of Debtor 2 ee

Executed on
MM / DD /YYYY

Executed on
MM / DD /Y¥YYY

Official Form 101

Voluntary Petition for Individuals Fillng for Bankruptcy page 7

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 8 of 67

Debter 1 OSCAR .

IGLESIAS

First Name Middle Name

Last Name

Case number (if known).

For your attorney, if you are
represented by one

If you are not represented
by an attorney, you do not
need to file this page.

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtar(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtar(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

x

Date
Signature of Attorney for Debtor MM / ODD fY¥¥YY
Printed name
Firm name
Number Street
City State ZIP Code

Contact phone

Email address

Bar number

State

Tea RRE TROT

Mgt pad nk

Official Form 101

SoC

Voluntary Petition for Individuals Filing for Bankruptcy page 8

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 9 of 67

OSCAR

Debtor 1

IGLESIAS

Case number (if known)

First Name Middle Name

Last Name

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

The law ailows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for aucit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. [f you do net list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the loca! rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply,

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

CL) No

WW Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

L) No

Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

L) Yes. Name of Person
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and ! am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

—_—
a £
x Zhe x
Giqnature oppébie 1 Signature of Debtor 2 _
Date Date
MM/DD /YYYY MM/ DD /Y¥Y¥Y
Contact phone Contact phone
Cell phone Cell phone

Email address Email address

SRE Tr aoe TRESS

eng prey

Official Form 101

Voluntary Petition for Individuals Fillng for Bankruptcy page 9
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 10 of 67

TUR UCase eI hm cel) mettle ULM

Debtor? OSCAR IGLESIAS
First Name Middle Name Last Neme

Debtor 2 DORIS Oo IGLESIAS

(Spouse, if filing) “First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number

Official Form 106A/B

Schedule A/B: Property

L] Check if this is an
amended filing

12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
tesponsible for supplying correct information, lf more space is needed, attach a separate sheet to this form, On the top of any additional pages,
write your name and case number (if known). Answer every question.

caked Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, iand, or similar property?

L) No. Go to Part 2,
w Yes. Where is the property?

14, 4534 W LAMBRIGHT

Street address, if avaifable, or other description

33614

TAMPA FL

City State 2\P Coda

HILLSBOROUGH

County

If you own or have more than one, list here:

12, NONE

Street address, if available, or other description

City State ZIP Code

County

What Is the property? Check all that apply.
Ww Single-family home

C) Duplex or multi-unit building

QO) condominium or cooperative

CJ Manufactured or mobile home

Q) Land

C) investment property

Cl] Timeshare

{) other

Do not deduct secured clalms or exemptions, Put
. the:amaunt of any secured claims on Schedule D:
* Creditors Who Have Claims Secured by Property.

Current value of the Current value of the .
entire property? portion you own?

$ 260,000.00 s 260,000.00

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

Who has an interest in the property? Check one. The property is our principal resident

Q) Debtor 1 only

CO) Debtor 2 only

i Debtor 4 and Debtor2 only

[I At least one of the debtors and another

LI check If this fs community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

What is the property? Check all that apply.
Q Single-family home

Cl Duplex or multi-unit building

Q) Condominium or cocperative

Q) Manufactured or mobile home

UO Land

OC) investment property

QC) Timeshare

C1] other

Who has an interest in the property? Check one.
CY Debtor 4 only

CI Debtor 2 only

L) Debtor 1 and Debtor 2 only

(C) At ieast one of the debtors and another

‘De not daduct secured claims or examptions. Put

> the amount of any secured claims on Schedule D: -
Creditors Who Have Ciaims Secured. by Property:

Current value ofthe Current value of the
entire property? portion you own?

§ 8

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known,

CL) check if this is community property
(see instructions)

Other Information you wish to add about this Item, such as locat

property identificatlon number:

Official Form 106A/B

Schedule A/B: Property

page 1

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 11 of 67

Debtor 1 OSCAR IGLESIAS Case number tif known)
First Nama Middla Name Last Name
What is the property? Check all that apply. Do net deduct secured claims or exemptions, Put
13 NONE Qj Single-family home the amount of any secured claims on Schedule O:

Street address, if avallable, or other description

City State

ZIP Cada

County

CQ) Duplex or multi-unit building

UY Condominium or cooperative
CY Manufactured or mobile home
CJ Land

CY investment property

Ul Timeshare

Cl other

Who has an interest in the property? Check one.
Q) Debtor 1 only

Q) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

CJ Atleast one of the debtors and another

Creditors Who Have Claims Secured by Property. |

Current value of the Current value of the
entire property? portion you own?

$ $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate}, if known.

L) Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

2, Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
you have attached for Part 1. Write that number here. ...........cccccceseseeseerecesevensenccsuseereeerarenersnreuaneser patenatneeananeces >

Ee Describe Your Vehicles

$ 260,000.00

j

O) Ne
Yes
3.4, Make: TOYOTA
Moder: RAV4
Year: 2014
80000

Approximate mileage:
Other information:

GRAY COLOR

3.2. Make: TOYOTA
Model: LEXUS LX¢
Year: 2019

30000

Approximate mileage:

Other Information:

If you own or have more than one, describe here:

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

Who has an interest in the property? Check one.
C) Bebtor 1 only

CD) Debtor 2 only

Wi Debtor 1 and Debter 2 only

U Atleast one of the debtors and another

C) Check if this is community property (see
instructians)

Who has an interest in the property? Check one.
LJ) Debtor 1 only

QO) Debtor 2 only

Debtor 1 and Debtor 2 only

() At least one of the debtors and another

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases,

Do not deduct secured claims or exemptions. Put
the amount ef any secured claims on Schedule D:
Creditors Who Have Claims Secured by Praperty.
Current value of the Current value of the
entire property? portion you own?

5 10,000.00 ¢ 10,000.00

Ber Cue ret on seo

De not'deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
‘Creditors Who Have Claims Secured. by Property.

i
d
4
i

Current value of the
portion you own?

Current value of the
entire property?

oo : $ 25,000.00 25,000.00
WHITE COLOR C] Check if this is community property (see
instructions)
Official Form 106A/B Schedule A/B:; Property page 2
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 12 of 67

Debtor 1 OSCAR IGLESIAS Case number (i known),
First Name Middle Name. Last Nama

4

3.3, Make: Who has an interest in the property? Check ore. Qo not deduct secured claims or exemptions. Put

the amount of any secured clalms on Schedule D:

Model: CY Debter 4 only Creditors Who Have Claims Secured by Property.
y. a Debtor 2 only fe nove lint ‘ nett SAE ate FoF Ad ni 4 od

ear:

3.4.

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

Approximate mileage:

Other information:

Make:
Model:

Year:

Approximate mileage:

Other information:

No
O) ves

41.

If you own or have more than one, list here:

4.2.

§. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number Here... sccsssscssscessessersersersensrtenseccanscnssessusresreseoneseesnennesneaneonrssansrneaeespHMEbediAsedey

Make:

Model:

Year:

Other information:

Make:

Model:

Year:

Other information:

CL] Debtor 1 and Debtor 2 anly
L) At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debter 1 only

CQ) Debtor 2 only

CJ Debtor 1 and Debtor 2 only

(J Atleast one of the debtors and another

L) Check if this is community property (see
instructions}

Who has an interest In the property? Check one.
CO] Debtor 4 only
Q) Debter 2 only

C) Debtor 1 and Debtor 2 only
(CY At ieast one of the debtors and another

C) Gheck if this is community property (see
instructions)

Who has an interest in the property? Check one.
L) Debtor i only

LL) Debtor 2 only

C) Debtor 1 and Debtor 2 only

LI Atteast one of the debtors and another

U1 Check if this is community property (see
instructions)

23 yA de houe, nly amine

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.
Current value ofthe Current value of the
entire property? portion you own?

cease ie

$ 35,000.00  ¢ 35,000.00

Do not deduct secured claims or exemptions. Put
the amount ef any secured clalms on Schedule 2:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Bo not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedufe D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

5 0.00

Official Form 106A/B

Schedule A/B: Property

page 3
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 13 of 67

Debtor 1 OSCAR IGLESIAS

Case number (if known)

First Name Middle Name Last Narne

a Describe Your Personal and Household Items

' Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Exampfes: Major appliances, furniture, linens, china, kitchenware

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

O) No _
W Yes. Describe......... | our furniture and appliances | $ 1,500.00
! i
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment: computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
OC) No |
id Yes. Describe.......... TV $ 750.00 :
8. Collectibles of value i
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; |
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles i
C1 No
Q] Yes. Deseribe.......... $
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
id No
C) Yes. Describe.......... §
10. Firearms
Examples; Pistols, rifles, shotguns, ammunition, and related equipment
No
Cl Yes. Describe... | $
11. Clothes
Exampies: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
CI No
id Yes. Describe......... | $ 525.00
12, Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
U1 No | 300.00
id Yes. Describe.......... RING S $ “
13.Non-farm animals
Examples: Dogs, cats, birds, horses ;
:
WJ No :
O Yes. Describe......... $
14, Any other personal and household items you did not already list, including any health aids you did not list
id No
C) Yes. Give specific 5
information. .......00 .
15. Add the dollar value of ail of your entries from Part 3, including any entries for pages you have attached § 3,075.00
for Part 3. Write that mumber Were .......0...1.:.ccceccessesseseseseesseessecsesensensquecsucsessusserseuserassensansesseaseaseasenensssanssessueagesessteseeceeeeeseenseneeatenesse
I
Official Form 106A/B Schedule A/B: Property page 4
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 14 of 67

Debtor1 OSCAR IGLESIAS

Case number (i known

First Namo Middle Name Last Name

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

Current value of the
portion you own?

Do not deduct secured claims |
or exemptions, :

18, Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

No
CY Yesuees Institution or issuer name:

16.Cash
Examples: Maney you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
id No
LD Yes cacessssesecscrssnsnensanvassteiectosossuvasonsetvenstsnesnensstueveessnssssiesussesecsereeueeeseecgaseennseensaees ives snssasenentneseseva CASH? visser §
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit: shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the sarne institution, list each.
WJ No
CD Ves .icsssscsssseesesee Institution name:
17.1, Checking account: $
17.2, Checking account: $
17,3, Savings account: $
17.4, Savings account: $
47.8, Certificates of deposit: 5
47.6, Other financial account: 5
17.7, Other financial account: $
17.8, Other financial account: $
17.9. Other financial account: $

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and Joint venture

W@W No Name of entity: % of ownership:
C1 Yes. Give specific 0% %
information about °
THEM... sete: 0% %
0% of

Official Form 106A/B Schedule A/B: Property

page 5
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 15 of 67

Debtor 1 OSCAR IGLESIAS

Case number (4 known)

First Name Middle Name. Last Nama

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

CL) No

CD Yes. Give specific Issuer name:
information about
TNE... ccsececcersenenee $

21, Retirement or pension accounts
Exampies: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

Wi No
QC) Yes. List each

account separately. Type of account: Institution name:
401(k) or similar plan: 5
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22, Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water}, telecommunications

companies, or others

Q] No

TD VES ceecscsssssssesstserssce Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: 5
Water: $
Rented furniture: $
Other: $

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
4 wo
CY VeSicwcssuieeee — Issuer name and description:
3
$

Official Form 106A/B Schedule A/B: Property page 6
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 16 of 67

Debtor1 OSCAR IGLESIAS

Case number (if known),
First Nama Middla Name Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b}, and 529(b)(1).

A No
CDOS cecveessesersescccetsesorseneeen

Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25, Trusts, equitable or future interests in property (other than anything listed in line 1}, and rights or powers
exercisable for your benefit

Yi no

information about them...

C) Yes. Give specific |
$

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, praceeds from royalties and licensing agreements

M1 No

information about them...

Cl Yes. Give specific |
$

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

No .
UO) Yes. Give specific |
$

information about them...

Money or property owed to you? : Current value of the
: portion you own?
Do not daduct secured
claims or exaniplions.

28. Tax refunds owed to you
QC) No

U Yes. Give specific information i
about them, including whether |
you already filed the returns I State:
and the tax years. .......ceeceecessseses

j
Federal:

Local

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

U wo

OC Yes. Give specific information..............

Alimony: $
Maintenance: $
Support: 3
Divorce settlement: $

$

Property settlement:

30. Other amounts Someone owes you
Examples; Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
W No

|

QO) Yes. Give specific information. cs... |
$

Official Form 106A/B Schedule A/B: Property page 7
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 17 of 67
Debtor 1 OSCAR IGLESIAS

Case number (known
First Name Middla Name Last Name

31, Interests in Insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

W No

C) Yes. Name the insurance company

. ~ Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. .., ¥ ¥

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

W No

C) Yes. Give specific information.............

33, Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

id No

CI Yes. Describe each claim. weescccscsccccen

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

iJ No

C) Yes. Describe each Claim. scsi

35. Any financial assets you did not already tist

CO) No 71

O) Yes. Give specific information............

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4, Write that number here ......0.....2...ceccsseeeeeceeeees se ceveuvesvansessansessnatsssaseesonses sessesinssaseassecsessssvansessevecsesnsceeesse SDP $

v

ia Describe Any Business-Related Property You Qwn or Have an Interest In. List any real estate in Part 1.

37.Bo you own or have any legal or equitable interest in any business-related property?
id No. Go to Part 6.
QO) Yes, Go to line 38. E

Current value of the
portion you own?

Do not deduct secured claims

or exemptions,
38. Accounts receivable or commissions you already earned
iJ No
L) Yes. Deseribe.......
2.

39. Office equipment, furnishings, and supplies
Examples: Business-retated computers, software, madems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

Ad No
QO) Yes. Describe.....,. \,

i i

Official Form 1C6A/B Schedule A/B: Property page 8
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 18 of 67

Debtor 1 OSCAR

IGLESIAS

First Nama Middle Name Last Name

40, Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

Case number (if known)

Wf No
O) Yes. Describe... 5
i I
41. Inventory
ad No }
Cl Yes. Describe......, 5
4
42, Interests In partnerships or joint ventures ;
UC No i
L) Yes. Describe...... Name of entity: % of ownership:
% $
%
43. Customer lists, mailing lists, or other compilations
lf No
C) Yes. De your lists include personally identifiable information (as defined in 11 U.S.C, § 101(41A))? ;
a
id No :
C) Yes. Deseribe........ |
| $
44, Any business-related property you did not already list
lid No
[J Yes. Give specific $
information .........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that mumber Were ...cscssssessssscecsssssssvereesssssssssssarsessssscuessessusvesesssgpesgessouerssessueessasseseeggiinasécsssvecseseetaneesastieresaineaccae

Describe Any Farm- and Commercial Fishing-Related Property You Qwn or Have an Interest In.

If you own or have an interest in farmliand, list It in Part 1.

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

ff No. Go to Part 7.
C) Yes. Go to line 47,

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

i No

Current value of the
portion you own?

Do not deduct secured claims |
or exemptions.

CD Yes coicescccssesseeesee

Official Form 106A/B

Schedule A/B: Property

page 9
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 19 of 67

Debtor 1 OSCAR

IGLESIAS

Firel Name Middle Namo Last Name

| 48. Crops—either growing or harvested

No

Case number (known)

CI) Yes. Give specific
information. ...........

1 Ne

48, Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

CD YS ceccccccssessceesseenec

50.Farm and fishing supplies, chemicals, and feed
No

CD Ves ec cesesssssseneiten ‘

51. Any farm- and commercial fishing-related property

Wd No

you did not already list

CY Yes. Give specific
information. ...........

52, Add the collar value of all of your entries fram Part G, including any entries for pages you have attached
for Part 6, Write that mumber here ..........csssssccsssssessssusssssssensessessnestececessssessnssassnsessesaeessedseseucseesssansessnsensteecadsacsacspeeeesasessueasessvate

>

Describe All Property You Own or Have an Interest in That You Did Not List Above

Examples: Season tickets, country club membership

53. De you have other property of any kind you did not already list?

id No

O Yes. Give specific
information...

54. Add the dollar value of all of your entries fron Part 7. Write that number Were oo... essssessesneessstsnssnescssssenssssevsneseeeets

List the Totals of Each Part of this Form

55. Part 1: Total real estate, [ime 2 .......-..ccessenssueseeceeeneeseerteenietirs

35,000.00

o> | ¢ 260,000.00

56. Part 2: Total vehicles, line 5 $

57.Part 3: Total personal and household Items, [ine 15 ~—«S 3,075.00

58. Part 4: Total financlal assets, line 36 $ 0.00

59.Part 5: Total business-related property, line 45 $ 0.00

60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00

61.Part 7: Total other property not listed, line 54 +5 0.00

62. Total personal property, Add [ines 56 through 61. ......---.-.--ee $ 38,075.00 Capy personal property total > + $ 38,075.00
63. Total of all property on Schedule AJB. Add ling 55 + line 62........scsssssscscssseceesssusronnneseeeesenses § 298,075.00

Official Form 1064/B

Schedule AJB: Property

page 10
Case 8:24-bk-03371-CPM Docl1

TMM Mo latrrsLiteimceM(s(-tal(ie mele met bie

OSCAR

Debtor 1

IGLESIAS

First Name Middie Name

Debtor 2 DORIS 0

Last Name

IGLESIAS

(Spouse, iffiling) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number
(if known)

Official Form 106C

Schedule C: The Property You Claim as Exempt

Filed 06/14/24 Page 20 of 67

LJ Check if this is an
amended filing

04/19

Be as complete and accurate as possible. [f two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/8) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write

your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property heing exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption

would be limited to the applicable statutory amount.

Ea Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

L) You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522{b)(3)

Wi You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the
Schedule A/B that lists this property partion you own

Copy the value from
Schedule A/B

Brief
description:

PROPERTY HOUSE $250,000.00

Amount of the exemption you claim

Check only one box for each exemption.

O ¢ 250,000.00

Line from
Schedule A/B:

Brief
description,

VEHICLE $25,000.00

L) 100% of fair market’ value, up to
any applicable statutory limit

Os. 2§600.00

Line from
Schedule AB: ———

Brief
description:

VEHICLE ¢ 10,000.00

L) 100% of fair market value, up to
any applicable statutory limit

Os 7,500.00

Line from
Schedule A/B: __

3. Are you claiming a homestead exemption of more than $170,3507

(Subject 1o adjustment on 4/01/22 and every 3 years afler that for cases filed on or after the date of adjustment.)

W No

L) 100% of fair market value, up to
any applicable statutory limit

L} Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

C) No
O Yes_

Official Form 106C

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

14 U.S.C.522(B)(3)

11 U.S.C.522(B)(3)

11 U.S.C 522(B)}(3)

page 1 of _
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 21 of 67

Debtor 1 OSCAR IGLESIAS Case number (it known)
First Name Middle Name Last Name
EE essitona Page
Brief description of the property and line Current value of the Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/é that fists this property portion you own
Copy the value from Cheek only one box for each exemption
Schedule A/B
Brief
description: $ Lis
Line from C2 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: § Us
Line from LI) 100% of fair market value, up to
Schedule AYB8: ———— any applicable statutory limit
Brief
description: § Ls
Line from C) 100% of fair market value, up to
Schedule AB: any applicable statutory limit
Brief
description: $ Os
Line from CL) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Lis
Line from CL) 100% of fair market value, up to
Schedule A/B; ——— any applicable statutory limit
Brief
description: § Os
Line from C2 100% of fair market value, up to
Schedule AB: —___ any applicable statutory limit
Brief
description: $ Lis
Line from Ct 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from ©) 100% of fair market value, up to
Schedule AB: ——— any applicable statutory tinit
Brief
description: $ Os
Line from (1) 100% of fair market value, up to
Schedule A/B: —___ any applicable statutory limit
Brief
description: $ Lig
Line from C) 100% of fair market value, up to
Schedule A/B; any applicable statutory limit
Brief
description: $ Og
Line from C) 100% of fair market value, up to
Schedule AB: —— any applicable statutory limit
Bret
description: $ Urs
Line from CY 100% of fair market value, up to
Schedule AB: any applicable statutory limit

Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of __
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 22 of 67

UMM Cal icmistcerdstt-1iCelem Comte loiniela me Tele bao bck

pestor1 OSCAR IGLESIAS
First Name Middle Name Last Name

pebtor2 «DORIS 0 IGLESIAS

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number QJ Check if this is an
{If known) amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/8: Property (Official Form 106A/B} as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, wile
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutary amount.

Identify the Property You Claim as Exempt

. t. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

UL) You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedufe A4/B that you claim as exempt, fill in the information below.

Brief description of the property and line on = Current value ofthe Amount of the exemption you claim Specific laws that allow exemption

Schedule A/S that lists this property portion you.own
Copy the value from Check only one box for each exemption.
Schedule A/B
description; PROPERTY HOUSE — $,250,000.00 Os 250,000.00 11 U.S.C.522(B)(3)
Line from C) 100% of fair market vatue, up to
Sehedule A/B: any epplicable statutory limit
Brief
description: NEHICLE ss § 25,000.00 Qs 182,000.00 11 U.S.C.522(B\(3)
Line from LJ 100% of fait market value, up to
Schedule AB: any applicable statutory limit
Brief
description, “EHICLE ¢ 10,000.00 Os 7,500.00 11 U.S.C 522(B\3)
Line from L) 100% of fair market value, up to

Schedule A/B: any applicable statutory limit

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

Wi No

QI Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
) No
QO) Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 23 of 67

Debtor 1 OSCAR IGLESIAS Casé number ¢ftknown,
Furst Name Middle Name Last Name
Additional Page
Brief description of the property and line Current value of the =Amount of the exemption you claim Specific laws that allow exemption
on Scheduie A/B that lists this property portion you own
Copy the value fram Check only one box for each exemiption.
Schedule A/B
Brief
description: § Os
Line from LJ 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief .
description: $ Og
Line from (4 100% of fair market value, up to
Schedule AB: —— any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule AB: any applicable statutory limit
Brief
description: 3. Os
Line from ©) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Lis
Line from LY 100% of fair market value, up to
Schedule A/B:. ——— any applicable statutory limit
Brief
description: $ Os
Line from LI 100% of fair market value, up ta
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: § Os
Line from C) 100% of fair market value, up to
Schedule AB: ———- any applicable statutory limit
Brief
description: $ Os
Line from : (1) 100% of fair market value, up to
Schedule AvB: ——__ any applicable statutory limit
Brief
description: $ Os
Line from C} 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Og
Line from Cl 100% of fair market value, up to
Schedule A‘: ——— any applicable statutory limit
Brief
desctiptian. $ Os
Line from C) 100% of fair market value, up to

Schedule A/B: ~~ any applicable statutory limit

Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of __
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 24 of 67

a MOLECU mcm CULM De) mee tse

a

Debtor 1

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of

Case number
{lf known)

LJ Check if this is an
amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

12/15

1. Do any creditors have claims Secured by your property?
GA No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
L) Yes. Fill in all of the information below.

ree ist All Secured Claims

. Cofuitin A : Colimn B u Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately unt i Value of collateral, Unsecured.
for each claim. If more than one creditor has a particular claim, list.the other creditors in Part 2. lithat supports this |: portion
As much as possible, list the claims in alphabetical order according to the creditor's name. chim — ifany~
- oo Bye ane wneud | senna ete AL Ronmate “eat cent 7 oi
[2.1] Describe the property that secures the claim: $ $. $
Creditors Name ]
Number Street
As of the date you file, the claim is: Check all that apply.
O) Contingent
Hliquidated
2 uniiquid:
City Stale ZIP Code CO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
O debtor 1 only () An agreement you made (such as mortgage or secured ~
oO Debtor 2 only car loan)
©] Debtor 1 and Debter 2 only Q) Statutory lien (such as tax lien, mechanic's lien) ,
C1 Atleast one of the debtors and another C] Judgment lien from a lawsuit
CQ Other (including a right to offset}
QO Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits ofaccountnumber
| 2.2| Describe the property that secures the claim: $ $ $
Crediter’s Name
Number Street
As of the date you file, the claim Is: Check all that apply,
CO) Contingent
Q) unliquidated
City Stata ZIP Gode QO Disputed
Who owes the debt? Check one, Nature of lien. Check all that apply.
Q) Bebtor 4 only QO) An agreement you made (such as mortgage or secured
O Debtor 2 only car loan)
O Debtor 4 and Debtor 2 only C1 Statutory lien (such as tax lien, mechanic's lien)
C Atleast one of the debtors and ancther Q) Judgment lien from a lawsuit
O) Other (including a right te offset)
CQ) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of account number ___ —
Add the dollar value of your entries in Column A on this page. Write that number here: bp |
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1of_

Debtor 1

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 25 of 67

First Name

Middle Name

Last Name

Case number (if sown)

EE ts Others to Be Notified for a Debt That You Already Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed In Part 1. For example, if a collection
agency Is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection-agency here. Similarly, if
you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
be notified for any debts in Part 1, do not fill out or submit this page, ,
| Gn which line in Part 7 did you enter the creditor?
Name Last 4 digits ofaccountnumber_
Number Street
City State ZIP Code
| | On which line in Part 1 did you enter the creditor?
Name Last4 digits ofaccount number
Number Street
j
| City State ZIP Code
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits ofaccountnumber
Number Street
City State ZIP Code
| Qa which line in Part 1 did you enter the creditor?
Name Last 4 digits ofaccountnmumber
Number Street
City State ZIP Cade
4
| Gn which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber_
Number Street
City State ZIP Code
| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_
Number Street
City State ZIP Code

Official Form 1060

Part 2 of Schedule D: Creditors Who Have Claims Secured by Property

page. _of_

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 26 of 67

UR TEM Cerr niece em LaLa cel mer tos

Debter 1 OSCAR » IGLESIAS

Fimt Name Middle Name Last Name :
Debtor 2 DORIS © IGLESIAS
(Spouse, if filing} First Name Middle Name : Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number LI Check if this is an
{Hf known) amended filing

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result In a claim. Also list executory contracts on Schedule
A/B; Property (Official Form 106A/B} and on Schedule G: Executory Contracts and Unexpired Leases.(Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fii] it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

Flash List All of Your PRIORITY Unsecured Glaims

1.

- + (For: an ‘explanation of.each type. of claim, see the instructions for this form i inthe instruction: booklet, J

Do any creditors have priority unsecured claims against you?

(1 No. Go to Part 2.

W Yes. |
List all of your priority unsecured claims: Ifa’ ‘creditor has.n more than one: priority unsecured: claim; list'the: creditor separately for each claim. For 2

each claim listed, identify what type of claimitis. ifa claim has bath priority'and nonpriority amounts, ‘ist that'claim here and show both priority. and:

‘nonpriority. amounts: As much:as possible, list the claims in’ “alphabetical order accofding to the creditor's name. Ifyou have more than two priority
unsecured. claims, fill out the Continuation Page of Part-1. If more:than one creditor holds a particular. claim, {fst the other craditors { in Part 3.

, Total claim’ * Priority ~ Nonpriority
[ oie ae ganged NOUN,
24

DISCOVERY Last 4 digits of accountnumber 8 3 2  §& WW $20,576. ys
Priority Creditor’s Name

P O BOX LAKE CITY When was the debt incurred?

Number Street

- As of the date you file, the claim is: Check all that apply.
LAKE CITY UT 84130 O Contingent
Cy State ZIP Code nlingen
. 4 Unliquidated

Who incurred the debt? Check one. 1 cisputed

“i Debtor 1 only

Q) Debtor 2 only Type of PRIORITY unsecured claim:

a Debtor 4 and Debtor 2 only U1 Domestic support obligations

Atteast one of the debtors and anather Q) Taxes and certain other debts you owe the government
Q) Check if this claim is for a community debt C) claims fer death or personal injury while you were
Is the claim subject to offset? intoxicated
No OC) other, Specity
Cl ves
22 CAPITAL ONE Last 4 digits ofaccountnumber_3 2 2 0 g¢ 5 2:3913.00 ¢

Prionty Crediter’s Name .

PO BOX 31293 When was the debt incurred?

Number Straat

: As of the date you file, the claim is: Check all that apply.

LAKE CITY UT 84131 O) Contingent
City State ZIP Code wi Untiquidated
Who incurred the debt? Check one. U1 Disputed

£] Debtor 4 only

Cl) pebter 2 only

Q) Debtor 1 and Debtor 2 only

C2 Atleast one of the debtors and another

Type of PRIORITY unsecured claim:
() Domestic support obligations
OQ) Taxes and certain other debts you owe the government

(2 claims for death 1 injury while you were
Q) Check if this claim is for a community debt aims for Geatn or personal Injury walle you we

intoxicated
ls the claim subject to offset? QO) other. Specify
WM No :
Cl Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Clalms page 1 of__
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 27 of 67

Debtor 1 OSCAR

IGLESIAS

Firet Name Middle Name Last Name

ou Your PRIORITY Unsecured Claims — Continuation Page

Case number (if kawn),

Priority Creditor's Name

P O BOX 961245 FT WORTH

Number Street
FT WORTH TX 76161
City State ZIP Code

Who incurred the debt? Check one.

wf Debtor 1 only

C) Debtor 2 only

© Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

CO) Check if this claim is for a community debt

is the claim subject to offset?

a No
QO yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
M1 unliquidated
Q Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death ot personal injury while you were
intoxicated

Other. Specify

oOo OOO

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and soforth. = Total-claim Priority ‘Nonpriority |
. . . - Sos 0 DG *. amount | ‘amiount."
CREDIT ONE BANK Last 4 digits ofaccountnumber 9 3 1 9 $ s_588.00 ¢
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
: QO Contingent
City State ZIP Code Unliquidated
O Disputed
Who incurred the debt? Check one.
Wf Debtor 1 only Type of PRIORITY unsecured claim:
O
Debtor 2 only Domestic support obligations
O) Debtor 1 and Debtor 2 only Oo .
Taxes and certain other debts you owe the government
CO Atleast one of the debtors and another QO . '
Claims for death or personal injury while you were
O Check if this claim is for a community debt intoxicated
C2 other. Specify
Is the claim subject to offset?
af No
) Yes
DISCOVERY BANK Last 4 digits of account number 1 1 98 oO §, s 18,820g9 5
Priority Creditor's Name
P 0 BOX 30939 When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
LAKE CITY UT 84130 LC) Contingent
City Slats ZIP Cada 2 unliquidated
OQ Disputed
Who incurred the debt? Check one.
Mf Debtor 1 only Type of PRIORITY unsecured claim:
5 ete t om pebtor 2 ont C) Domestic support obligations
CJ eprer tai ore only O) Taxes and certain other debts you owe the government
Atleast ane of the debtors and another . os .
QO Claims for death or personal injury while you were
O) Check if this claim is for a community debt intoxicated
) other, Specify
Is the claim subject to offset?
wi Na
O ves
|_J SANTANDER CONSUMER USA Last 4 digits ofaccount number 0 0 O 2 §$ $10.92 7x9 s

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page __ of

‘Case 8:24-bk-03371-CPM Doci Filed 06/14/24 Page 28 of 67
OSCAR 4 IGLESIAS

Case number ¢f mown),
First Name Middie Name

Debtor 1

Last Name

List All of Your NONPRIORITY Unsecured Claims

3. Bo any creditors have nonpriority unsecured clalms against you?
() No. You have nothing to report in this part. Submit this form to the court with your olher schedules.
Yes
Ban a te ee wget eee sees eee tg gat id a ant RE INR ie gee ae Myre
4. List-all of your nonpriority unsecured claims i in the alphabetical order.of the creditor who holds: ‘each claiin. if a ‘creditor has mére than-one
ronpriority unsecured. claim, list the creditor separately for each claim, For each claimiisted; identify what type of claimiit is. Do not list, claims. already -
included in Part 1. If more-than one creditor holds-a particular claim; list the other creditors in Part.3.1f your have more’ ‘than three nonpriority unsécured
claims ft fill out the Continuation Page of Pert a . .
p ‘Total ctaim
fat | THD CBNA Last 4 digi 35 3 2
} ast 4 digits of accountnumber_Y 9
Nonpriority Creditors Name 9 ~ § 1,436.00
P O BOX 6497 When was the debt incurred? ‘
Number Street
SIOUX FALLS SD 57117
City State ZIP Code As of the date you file, the claim is: Check all that apply.
O Contingent
Who incurred the debt? Check one. Unliquidated
W Debtor 1 only O) Disputed
C) Debtor 2 only
(4 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(J Atleast one of the debtors and another O Student toans
QO Check if this claim is fora community debt oO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? O) Debts to pension or profit-sharing plans, and other similar debts
No QO other. Specity
O ves
#2_| CAPITAL ONE WMT Last digits of account number 3 2 2 0 s____ 1,080.00
Nonpriority Creditor’s Name When was the debt incurred?
P 0 BOX 31293
Number Street
SALT LAKE CITY UT 84131 As of the date you file, the claim is: Check all that apply.
city Site ZIP Code Q Contingent
Who incurred the debt? Check one. W Untiquidated
O) Debtor 4 only C1 Disputed
a Debtor 2 only lal
DO Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(C1 Atleast one of the debtors and another C) Student toans
oO sean: - . 1 Obiigations arising out of a separation agreement or divorce
Check if this claim is for a community debt that you did not report as-priority claims
Is the claim subject to offset? C1 debts te pension or profit-sharing plans, and other similar debts
w No C) other. Specify
QC) Yes
a3 | CAPITAL ONE Last 4 digits of accountnumber 7 8 0 5 5,175.00
Wonpriorly Creditors Name Wh the debt incurred? see
en Was Incurre
P © BOX 31293
Number Street
SALT LAKE UT 84131 . os
Gily Sia TP Goede As of the date you file, the ciaim is: Check all that apply.
Who incurred the debt? Check one. O Contingent
a Untiquidated
 vebtor 1 only Ob:
Disputed
Ww Debtor 2 only
U) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) At least one of the debtors and another
C) Student toans
LY Check if this claim is for a community debt (2 Obligations arising out of a separation agreement or divorce
. . that you did not report as priority claims
Ot ne claim subject to offset? (J Debts to pension or profit-sharing plans, and other similar debts
g vee Cl other. Specify
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Clalms page__of__
Debtor 1

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 29 of 67

OSCAR

IGLESIAS

First Name Middle Name Last Name

Case number (i known),

ee NONPRIORITY Unsecured Claims — Continuation Page

:

i

Who incurred the debt? Check one.

QC) Debtor 1 only

Ml Debtor 2 only

C) Debtor 1 and Debtor 2 only

(C At least one of the debtors and another

UO Check if this claim is for a community debt

ls the claim subject to offset?

i no
QO ves

CP Unliquidated
i Disputed

Type of NONPRIORITY unsecured claim:

QO) Student loans

oO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C] Debts to pension or profit-sharing plans, and other similar debts

O) other. Specify,

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

After listing any entries on this pago, number them beginning with 4.4, followed by 4.5, and so forth. Total claim
DISCOVER BANK Last 4 digits of account number A 1 oO oO $ 5,257.00
Nonpjriority Creditors Name
PO BOX 30939 When was the debt incurred?
ee ey 4s of the date you file, the claim is; Check all that appl
SALT LAKE CITY UT 84130 s of the date you file, the claim is; Check all that apply.

City State ZIP Code C) contingent
. a Unliquidated
Who incurred the debt? Check one. oO Disputed
Q) vebtor 1 only
Ui Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only CO) studenttoans
At least one of the debtors and another C1 Obligations arising out of a separation agreement or divorce that
O) Check if this ctaim is for a community debt you did not report as priority claims
(1 Debts ta pension or profit-sharing plana, and other similar debts
Is the claim subject to offset? C) other. Specify
a No
QO Yes
AMEX/CBNA Last 4 digits of accountnumber 7 4 8 1. 3_3,730.00
Nonpriarity Creditors Name
Wh. the d i d?
9111 DUKE BLVD MASON on was the debt incurre
Num aA As of the date you file, the claim is: Check all that appt
MASON OH 45040 ° yous pe
City Stata ZIP Code OC] Contingent
QO) unliquidated
Who incurred the debt? Check one. iw Disputed
Q Debtor 7 onty
U1 Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only C1 student loans
At least one of the debtors and ancther QO obligations arising out of a separation agreement or divorce that
(1 Check if this claim is for a community debt you did not report as priority claims .
O) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? QC) other. Specify
ba No
CI ves
1,256.00
Lee
SYNCB/LOWS Last 4 digits of accountnumber 8 1 9 2
Nonpriority Creditor's Name ‘
When was the debt incurred?
PO BOX 965005 '
Number Street As of the date you file, the claim is: Check ail that appl
ORLANDO FL 32896 ° yous: ° apP'y
City State ZIP Code O) contingent

page of

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 30 of 67

Debtor 1 OSCAR IGLESIAS

Case number ¢i known)
First Name Middle Name Last Name

er List Others to Be Notified About a Debt That You Already Listed

§. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

|
|

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here, If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Gn which entry in Part 1 or Part 2 did you list the original creditar?

Name
Line of (Check one): CO) Part 1: Creditors with Priority Unsecured Claims
Number Straat O Part 2: Creditors with Nonpriority Unsecured Claims
Last4 digits ofaccountnumber_
Cily Stale ZIP Code
' On which entry In Part 1 or Part 2 did you list the original creditor?
Name .
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street 0) Part 2: Creditors with Nonpriority Unsecured
Claims
- Last 4 digits of accountnumber
City State ZIP Coda
j On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountmumber_
City State ZIP Cade
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
' Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
: Number Street QO) Part 2: Creditors with Nonpriority Unsecured
" Claims
| - Last 4 digits of accountnumber_
' City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
| Name
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
i Claims
Last 4 digits of account number __ _
City State ZIP Code '
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street QO) Part 2; Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number __ _
City State ZIP Code
7 On which entry in Part 1 or Part 2 did you list the original creditor?
' Jame
|
Line of (Check one): OQ Part 1: Creditors with Priority Unsecured Claims
Numb Street
umver me QO) Part 2: Creditors with Nonpriority Unsecured
Claims
i Chy Sate FIP Code Last 4 digits of account number.

Officia! Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page of__
Debtor 1

co Add the Amounts for Each Type of Unsecured Claim

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 31 of 67
OSCAR IGLESIAS

First Name Middle Name Last Name

Case number (it known),

6. Total the amounts of certain types of unsecured claims. This information is for statistIcal reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.
Total claim - :
Total claims. 6a. Domestic support obligations 6a. § 0.00
from Part 1 . 6b. Taxes and certain other debts you owe the
government Bb. g 0.00
. } 6c, Claims for death or personal injury while you were
intoxicated 6c. g 0.00
. Other. Add all other priority unsecured claims.
Write that amount here. 6d. 4 $ 0.00
* Ge, Total. Add lines 6a through 6d. Ge.
5 0.00
~_Total-claim™
Total claims © Student loans Bf. 5 0.00
: from Part 2. 6g. Obligations arising out of a separation agreement
., or divorce that you did not report as priority : 0.00
claims . 6g. $ . :
. Debts to pension or profit-sharing plans, and other
similar debts 6h. _g 0.00
i. Other. Add all other nonpriority unsecured claims. ,
Write that amount here. 6. +s 0.00
. , 6. Total. Add lines 6f through 6i. gj.
we $. 0.00
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims . page of
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 32 of 67

RUM M Usui meen CUiih ae Cnt merece

Debtor 4 «OSCAR IGLESIAS
First Name Middla Name. Last Name
Debtor 2 DORIS IGLESIAS
(Spouse lf filing} First Mame Middle Mame Last Name
United States Bankruptey Court for the: Middle District of Florida
Cc bi teat
(thrown) LI Check if this is an
amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 125

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page, On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
wd No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
LI Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 1064/8).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
wm
12.1
Lead
i Name
Number Street
City State ZIP Cade
. . omen ce niecean m
2.2)
- Name
Number Street
_ eity State 2iP Code we seen
2.3!
fomcae aia
Name

Number Streat

City State = ZIP Code

Name

Number Street

City State ZIP Code

Pn ee ne ae eat det

i Name

Number Street

i City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page lof_
Case 8:24-bk-03371-CPM Doc 1 Filed 06/14/24 Page 33 of 67

TIMUR CMELO st Lecomte ia el Cars too

Debter 1 OSCAR IGLESIAS
First Name Middle Name Last Name

Debtor 2 DORIS 0 IGLESIAS

(Spouse, if filing) First Name Middle Nama Last Name

United States Bankruptey Court for the: Middle District of Florida

Case number
(If known)

©) Check if this is an

amended filing

Official Form 106H
Schedule H: Your Codebtors

12118

Codebtors are people or entities who are also Hable for any debts you may have. Ba as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct Information. If more space is needed, copy the Additional Page, fill it out,
and number the entries In the boxes on the left. Attach the Additlonal Page to this page. On the top of any Additional Pages, write your name and

case numbor (if known). Answer every question.

4, Do you have any codabtors? ((f you are filing a joint case, do not list either spouse as a codebtor.)

WI No
OC] yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Kf No. Goto line 3.
CI Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

QC] No

C) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

Name of your spouse, former spouse, or legal aquivatent

Number Street

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person Is a quarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Official Form 106D), Schedufe E/F (Officlal Form 106E/F), or Schedufe G (Officlal Form 106G). Use Schedule D,
Schedule E/F, or Schedufle G to fill out Cotumn 2.

” Column 1: Your codebtor : . " . Column 2: The creditor to whom you owe the debt
. : _ Check all schedules that apply:
3.1
O) Schedule D, line
Name TT
O) Schedule EF, line
Number Street UO) Schedule G, line
City . Stata ZIP Code
3.2
QO Schedule D, line
Name —__—
O) Schedule E/F, line
Number Streat O) Schedule G, line
City State ZIP Code
3.3
) Schedule D, line
Name
© Schedule E/F, line
Number Sirest QO Schedule G, line
City State. ZIP Code

Official Form 106H Schedule H: Your Codebtors page lof
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 34 of 67

RUM CT CMH ihm rel ater cio

Debtor 1 OSCAR IGLESIAS
Firet Name Middle Name Last Name

Debtor 2 DORIS O IGLESIAS

{Spouse, if fling) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number Check if this is:

(If known)
Q) An amended filing

QA supplement showing postpetition chapter 13
income as of the following date:

Official Form 106] MM? DDT YYYY
Schedule I: Your Income 42/15

Be as complete and accurate as possible. If two married peopte are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse Is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

'

ae Describe Employment

1, Fill in your employment
information. Debtor 1 _ » Debtor 2 or non-filing spouse

If you have more than one job,

attach a separate page with
information about edeltfonal Employment status Wl Employed Wi Emptoyed
employers. . CL) Not employed LY Not employed

Include part-time, seasonal, or
self-employed work.

: Occupation CLEANING SERVICES CLEANING SERVICES
Occupation may include student
or homemaker, if it applies. .
Employer's name 0&D PROFESSIONAL CLEANIN ©O&D PROFESSIONAL CELANIN
Employer's address SERVICIES ING SERVICES ING
Number Street Number Street
City State ZIP Code City State ZIP Cede
How long employed there? 14 14

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing Spouse have more than one employer, cambine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 . For Debtor 2 or
non-filing spouse -

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). If not paid monthly, calculate what the monthly wage would be, 2, $ 4.833.00 5 875.00
3, Estimate and list monthly overtime pay. 3. #5 0.00 +¢ 0.00
4. Calculate gross income. Add line 2 + line 3. 4. | $1,833.00 $ 875.00

Official Form 106] Schedulel: YourlIncome - page 1

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 35 of 67

Debtor 1 OSCAR IGLESIAS Case number (it kscwn)
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse_
Copy He 4 MOP... ssscssesecseeseseersevsvresasescsecarassussussssisssssssecacsuesessccensseseesense 7-4 = § $
5. List alt payrell deductions:
5a. Tax, Medicare, and Social Security deductions 5a. § $
5b, Mandatory contributions for retirement plans 5b. $ $
Sc. Voluntary contributions for retirement plans Sc. § $
5d. Required repayments of retirement fund loans Sd. §$ $
Se. Insurance Se. $ $
5f. Domestic support obligations Sf. 3 $.
5g. Union dues 5g. $ $
5h, Other deductions. Specify: Sh. +S + §
6. Add the payroll deductions. Add lines 5a + 5b + 5¢+ 5d4+5e+5f+5g7+5h. 6. $ $ :
7. Calculate total monthly take-home pay. Subtract tine 6 from line 4. 7. $ $.
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ $
monthly net income. 8a.
8b. Interest and dividends &b. = § $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce 5 $
settlement, and property settlement. &c.
8d. Unemployment compensation éd. $ 3
8e. Social Security 8, = § $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: a. |S $
8g. Pension or retirement income &g. =6§ $
8h. Other menthiy income. Specify: 8h. +$ +5
9, Add ali other Income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh. 9. $ $
10. Calculate monthly income. Add line 7 + line 9. + = |s
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. s § 7
11. State all other regular contributions to the expenses that you list In Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: WW $
12. Add the amount in the last cotumn of line 10 to the amount in Hine 11. The result is the combined monthly incame.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, if it applies t2. 5.
Combined

13.Do you expect an increase or decrease within the year after you file this form?
No.

monthly income

C) Yes. Explain:

Official Form 106! Schedule I: Your Income

page 2

Case 8:24-bk-03371-CPM Doc1_ Filed 06/14/24 Page 36 of 67

eT Mem leUitlelim Cem Caletaned ham tcel meer: Lleo

OSCAR IGLESIAS eae:
Debtor 1 First Name Middle Name Last Name —a Check if this IS:
Debtor 2 DORIS Oo IGLESIAS .
(Spouss, if filing) First Name Middle Name Last Name o An amended filing

: A supplement showing postpetition chapter 13

United States Bankruptcy Court for the: Middle District of Florida exp eee as of the folowing date: P
Case b OT
(tknown) er - MM / DD/ ¥YYYY

Official Form 106J
Schedule J: Your Expenses | 12415
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

Information. If more space Is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

‘ HEE Describe Your Household

4. Is this a joint case?

OO) No. Go to tine 2.
Yes. Does Debtor 2 live in a separate household?
i O No
; L) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

'2, Do you have dependents? WI Na
3 Dependent’s relationship to Dependent's Does dependent live
Do not list Debtor 1 and L) Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?

Debtor 2, each dependent.............::nceee

: Cl No

: Do not state the dependents Oy
-?} names. es
: . O No
i QO Yes
4 C] No
OC) Yes

CQ) No
C1 ves

1

j

| LL) No
‘ QO Yes
|

13. Do your expenses include i No
expenses of people other than g
yourself and your dependents? Yes

re Estimate Your Ongoing Monthly Expenses

i Estimate your expenses as of your bankruptcy fillng date unless you are using this form as a supplement in a Chapter 13 case to report

expenses as of a date after the bankruptcy Is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
| applicable date. —

Include expenses pald for with non-cash government assistance If you know the value of

such assistance and have Included it on Schedule f; Your Income (Officlal Form 1061.) . - Your expenses

4. The rental or home ownership expenses for your residence. Include first mortgage payments and . § 4,019.00
i any rent for the ground or lot. 4.

| If not included In fine 4:

4a. Real estate taxes 4a. S 158.00
: 4b. Property, homeowner’, or renter’s insurance 40S. 256.25
4s. Home maintenance, repair, and upkeep expenses 4c. §. 143.75
| 4d. Homeowner's association or condominium dues . . 4d. $_ 0.00

Official Form 106J Schedule J: Your Expenses page 1
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 37 of 67

Debtor 1 OSCAR IGLESIAS
First Name Middle Name Last Name
!
5. Additional mortgage payments for your residence, such as home equity loans
; 6. Utilities:

18.

Official Form 106J

20e. Homeowner's association or condominium dues

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage coliection
éc. Telephone, cell phone, internet, satellite, and cable services

6d. Other, Specify:

Food and housekeeping supplies

Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus cr train fare.
Bo nat include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance,
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a, Life insurance
15b, Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
47e. Other. Specify:

17d, Other. Specify:

Case number (known)

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 6, Schedule /, Your Income (Official Form 106).

Other payments you make to support others who do not live with you.
Specify:

Other real property expenses not included in lines 4 or 5 of this form or on Schedule f: Your income.

20a, Mortgages on other property
20b, Realestatetaxes
20c, Property, homeowner's, or renter’s insurance

20d, Maintenance, repair, and upkeep expenses

Schedule J: Your Expenses

16.

17b.

19.

20e.

Your expenses

$

288.00

50.00

260.06

0.00

400.00

0.06

0.00

25.00

fF ff fF Ff fF ff fF wm

45.00

<

4160.00

0.00

0.00

172.00

260.00

323.67

om 6 tf th

0.00

0.00

267.00

644.00

0.00

we  &

0.00

0.00

0.00

fi 6 <

‘21, Other. Specify:

i
‘
1
t

24, Do you expect an increase or decrease in your expenses within the year after you file this form?

:
'

Case 8:24-bk-03371-CPM . Doc 1 Filed 06/14/24 Page 38 of 67

Debtor 1 OSCAR IGLESIAS Case number (if known),

First Name Middle Name Last Name

‘22, Calculate your monthly expenses.

22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c, Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |,

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your manthly income.
The resuit is your monthly net income.

For example, do you expect to finish paying for your car loan ‘within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

wl No.

22a,

22b.

226.

23a.

23b.

236.

+5
§ 2,789.67
§ 2,789.67

$
5 1,833.33
-§ 2,789.67
§ -956.34

CO) Yes. | Explain here:

Official Form 106J Schedule J: Your Expenses

page 3

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 39 of 67

Umm iieletirel Celie Cel el (t ata 2el 0] met: ten

Debtor 1

Debtor 2

OSCAR

IGLESIAS

First Name

Middie Name

Lest Name

(Spouse, if filing) First Name

United States Bankruptey Court for the: Middle District of Florida

Case number

(If known)

Middle Name

Last Name

Official Form 106Dec

Declaration About an Individual Debtor’s Schedules

C) Check if this is an
amended filing

12/15

If two married people ara filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571,

i: Below

|
|

Gd No

| C) Yes. Name of person

Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

Under penalty of perjury, ! declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x e=—_

. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Date

x Gimp

Signature of Debtor 1

MM/ BO f YYYY

Signature of Debter 2 me

Date
MMi DD / Y¥YYY

Official Form 106Dec

Declaration About an Individual Debtor's Schedules
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 40 of 67

UTR Tem elle Cn OCaml met hon

Debtor 1 OSCAR IGLESIAS
Firet Mame Midd Mama Leet Mame

Debtor 2 DORIS 0 IGLESIAS

(Spouse, if filing) Fret Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number . .
{If known) (J Check if this is an

amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy — 04/22

Be as complete and accurate as possible. If two married people are filing togethar, both are equally responsible for supplying correct
Information, If more space Is needed, attach a separate sheat to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

oe Give Details About Your Marital Status and Where You Lived Before

41. What is your current marital status?

wi Married
C) Not married

2. During the last 3 years, have you Ilved anywhere other than where you liva now?
wt No

LI Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

+ Debtor’: Sa -* Dates Debtor 4 _* Debtor 2: ro :* Dates Debtor2
Ce ee weet fl liWedthere en . _.  . . livedthere .. +
O Same as Debtor 1 () Same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code : City State ZIP Code
Oo Same as Debtor 1 QO) Same as Debtor 4
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse ar legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Wf No

Q) Yes. Make sure you fill out Schedule H: Your Codebtors (Otficlal Form 106H).

ES eriain the Sources of Your Income

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
Debtor 1

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 41 of 67

OSCAR

First Name

IGLESIAS

Middle Naine Last Nama

Case number (if known)

4 Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

OC) No

&d Yes. Fill in the details,

* Sources of Income
Check all that apply.

" Gross Income
_ (before deductions.and .

, Sources of income
Check all that apply.

, Grossincome _ .

(before deductions and.

exclusions) . _ + exclusions)
From January 1 of current year until Q Wages, commissions, $ 15,248.00 Q wages, ce $ 7,500.00
the date you filed for bankruptcy: » AP ONUSES, UPS a
Operating a business O Operating a business
For last calendar year: Cl Wages, commissions, Q Wages, commissions,
bonuses, tips $ bonuses, tips $
(January 1 to December 31, —___ CY Operating a business Operating a business
For the calendar year before that: Ol Wages, commissicns, O Wages, commissions,
bonuses, tips bonuses, tips $

(January 1 to December 1, C) Operating a business

O Operating a business

§ Did you recelve any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; penstons; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and fottery winnings. [f you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Wd No

C) Yes. Fill in the details.

[ Debtor 1"

’ Sources of income.
Describe below.

From January 1 of current year until
the date you filed for bankruptcy:

.- Grosaincome from;
“each source

Sources of Income

.* Describe below. .
(before deductions and." -.
exclusions) : .

Gross Income from
> each source
: (before deductions and
{ exclusions)

For last calendar year:

(January 1 to December 31, )
YYYY

For the calendar year before that:

(January 1 to December 31, )

YvYY¥

Official Farm 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 2

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 42 of 67

Debtor 4 OSCAR IGLESIAS Case number (if sown)

Fist Name Middle Name Last Name

eee Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2's debts primarily consumer debts?
WJ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
‘incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

QC) Ne. Go ta line 7.

L) Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic suppart obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

C) Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

wi No. Go to line 7.
OQ) Yes. List below each creditor to whom you paid a total of $800 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony, Also, do not include payments to an attomey for this bankruptcy case.

Dates of ' Total amount paid Amount you still owe Was this payment for...
. payment :
$ 3 C) Mortgage
Creditor’s Nama rtgag
Q) car
Number Street EJ credit card

2) Lean repayment

Q Suppliers or vendors

City State ZIP Code Q) other
$ $ C) mortgage
Creditors Nama
OQ) car
C3 credit cara

Number Street

CI Loan repayment

QO Suppliers or vendors

City State ZIP Code C1] other
$ § QO Mortgage

Creditors Nama

Q) car
Number  Straat CY credit card

CY toan repayment

Ct Suppliers or vendors
City — State ZIP Code Q) other

Official Form 107 Statement of Financial Affalrs for Individuals Filing for Bankruptcy page 3
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 43 of 67

Debtor 1 OSCAR IGLESIAS

Case number (if mowa),
First Name Midde Name Last Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners: partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C, § 101. Include payments for domestic support obligations,
such as child support and alimony.

Wi No

CL) Yes, List all payments to an insider.

Dates of Total amount Amount you still Reason for this payment
payment : pald owe

: $ $
Insider's Name

Number Street

City State ZIP Code

Insider's Name

Number Street

City State ZiP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

Include payments on debts guaranteed or cosigned by an insider.

Wi No

L) Yes. List all payments that benefited an insider.
“Dates of ‘_ Tetalamount . Amountyou still Reason for this payment

, Payment ==. pald , owe. Include creditor's name

$ $
Insider's Name .

Number Street

City State ZIP Cade

$ $
Insider's Name
Number Street
City State ZIP Coda
Official Form 107 Statement of Financlal Affairs for Individuals Filing for Bankruptcy page 4
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 44 of 67

Debtor 1 OSCAR IGLESIAS

Case number (known),
Firat Name Middle Name Last Name

Ea Identify Legal Actions, Repossessions, and Foreclosures

9, Within 1 year before you filed for bankruptcy, were you a party In any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

wf No

CL) Yes. Fill in the details.

Nature of the case | Court or agency ° Status of the case
Case title @ourt Name QO Pending
QL} On appeal
Number Street O) concluded
Case number
City State ZIP Code
Case title, Cout Name C) Pending
O) on appeal
Number Street QO Concluded
Case number
City State ZIP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, selzed, or levied?
Check all that apply and fill in the details below,

wf No. Go to line 11.
CQ) Yes. Fill in the information below.

” Describe the property Date Value of the property
- 3
Creditors Name
Number Street Explaln what happened
a Property was repossessed.
L] Property was foreclosed.
() Property was gamished.
City Stata ZIP Cade O Property was attached, seized, or levied.
- Describe the proparty . Date Value of the property
$.
Creditar's Name
Number Street : .
Explain what happened
Ly Property was repossessed.
Cy Property was foreclosed.
oy Sue ZIP Code oO Property was garnished.
C) Property was attached, seized, or levied,

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 45 of 67

Debtor 1 OSCAR IGLESIAS Case number ¢fkrawn)

First Name Middle Name Last Name

11. Within 90 days before you filed for bankruptey, did any creditor, Including a bank or financial [nstitutlon, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

Wi No

©) Yes. Fill in the details.

Describe the action the creditortock Date action Amount
. was taken
Craditors Name se
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX—

12. Within 1 year before you filed for bankruptcy, was any of your property In the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

i No
CY Yes

eee ut Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

bd No

CJ Yes, Fill in the details for each gift.

Dates you gave Value

Gifts with a total value of more than $600° ' Describe the gifts
- ’ the gifts

per person

Person to Whom You Gave the Gift

Number Street

City State ZIP Coda

Person's relationship to you

Gifts with 4 total value of more than $600 | © Describe the gifts , ‘ , Dates yougave ~ Value
per person . Lom, we : : : the gifts, ‘

Person ta Whom You Gave tha Gift

Number Street

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financlal Affairs for individuals Filing for Bankruptcy page 6

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 46 of 67

Debtor 1 OSCAR IGLESIAS

_ Case number (inown),
First Nama Middla Name Last Name

14.WithIn 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
a No

LJ Yes. Fill in the details for each sift or contribution.

cae te vee yey ome = te la ae won ~

a8 io

‘ Gifts oF contributions to charities’ - oe | ‘Deseribe whatyouc contributed Le es Le : Dato you.
2, that! total more than 260p: ao ss : , wos ae a tat Se ah contributed A

Ly wee we ta be

$
Charity's Name

Number Street

City State ZIP Code

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of thoft, fire, other
disaster, or gambling?

Wf No

C) Yes. Fill in the details.

_: Date of your ‘vative at {property

Describe’ any insurance coverage ‘forthe 1088 vas
‘loss. " we lost “WR

* Describe tho property you lost.an
. how the loss occurred

* Inelude the amount that Insurance has paid. List pening insurance ;
ah velaims o on line 33 ot Schedule AB: : Property...

ame

ie = Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?

Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

Gd No

CI Yes. Fill in the details.

ett : Date’ payment. or ; ‘Aniount of p
eee Jot o. von : transfer Was’ RE
Person Who Was Paid ' srt ee foe : a > made =
‘Number Street $
$.

City State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 47 of 67

Debtor 1 OSCAR IGLESIAS

Case number (if known),

First Name Middle Name Last Name

Description and value of any property transferred

Person Who Was Paid

Number Streat

City State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Wf No

C) Yes. Fill in the detaits.

: Description and value of any property transferred

Parson Who Was Paid

Number Street

City State ZIP Code

|
|

transferred in the ordinary course of your business or financial affalrs?

Do not include gifts and transfers that you have already listed on this statement.
wf No
U Yes. Fill in the details.

4

. Date payment or 2” Amount of
transfer was made‘. payment =“

47. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who

, Date payment or, Amount of payment
’ transfer was ‘

. imade

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property

Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).

_ Deseription and value of F property o _- Deseribe any property or payments received ° Date transfer .

‘ ‘transferred . . for debts pald in exchange * was made
Person Who Received Transfer
Number Street
City State ZIP Code
Person's-relationship to you
Person Whe Received Transfer
Number Street
City State ZIP Cade
Person's relationship to you
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 48 of 67

Debtor 4 OSCAR

IGLESIAS

First Name Middle Name

No

LI Yes. Fill in the details.

Name of trust

Last Name

“ Description

mage

d value

‘of the proparty tran t aC *

Case number (i known),

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settiod trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

Date.transfer -
. Jt, Wasmade . ~

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

closed, sold, moved, or transferred?

Wi No

C] Yes. Fill In the-detalls.

Last'd digits of acco

unt humber ;

“Type of account or

20. Within 1 year before you filed for bankruptcy, were any financlal accounts or instruments held in your name, or for your benefit,

Include checking, savings, money market, or other financlal accounts: certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financlal institutions.

securities, cash, or other valuables?
wf No

C] Yes. Fill in the details.

Name of Financlal Institution

Number Street

City State ZIP Code

Official Form 107

: Who else had access tolt?-

. wy lO . Instrument.
day, ue Sem : ”
Name of Financial Institutlan
XXXX— __ O Checking : $
Number Street QO Savings
QO Money market
QO Brokerage
City State ZIP Code Oo Other
XXXX= oO Checking $
Name of Finanelal Institution  —— — ——
C) Savings
Number Street O Money market
Uy Brokerage
CD other,
City State ZIP Code

21, Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for

"23 7D you still |
. “have it? *

|
iQ] No
L) Yes

- Describe the contents . ey

Name

Number Street

City State

ZIP Code

Statement of Financlal Affairs for Individuals Filing for Bankruptcy

page 9

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 49 of 67

Debtor 4 OSCAR IGLESIAS

Case number (if known),
Firet Name Middle Name Last Name

22, Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No

(2 Yes. Fit In the details.

ossrs =  * De you stitl
: wi a: have it?”
CO No
Name of Storage Facility Name OC Yes
Number Street Number Street

City State ZIP Code

City. State ZIP Code

Cr Identify Property You Hald or Gontrol for Someone Elso

23. Do you hold or control any property that someone alse owns? Include any property you borrowed from, are storing fer,
or hold In trust for someone.

No
C) Yes. Fill in the details.

. we Describe the property

Owner's Name $

Number Street

Number Street

City State ZIP Code

City State ZIP Code

So Glve Detalls About Environmenta! Information

For the purpose of Part 10, the following definitions apply:

n Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material Into the air, land, soll, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, Including disposal sites.

5 Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24, Has any governmental unit notified you that you may be liable or potentially lable under or in violation of an environmental law?

ZW No

C) Yes. FHt in the details.

Governmental unit.” °.""” "Environmental law, ifyou knowit,.* |” pate‘of notice”
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

City State ZIP Gode

Official Form 107 Statement of Financial Affairs for Individuals Fillng for Bankruptcy page 10

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 50 of 67

Debtor 1 OSCAR IGLESIAS Case number (i krown)

Firat Name Middle Name Last Name

25. Have you notified any governmental unit of any release of hazardous material?

No

UJ Yes. Fill In the details.

* Governmental unit’ we

" Data of notice wt

ppoeeneetn eee”

Name of alte Governmental unit
Number Street Number Street

City State ZIP Code
City State ZIP Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Wi No

C) Yes. Fill in the details.

" a ’ Status ofthe
PPB Ee ce cue an aa Tn wl Se Sibaas etl Th talib ‘case |
Case title ,
Court Name O Pending
Cl on appeal
Number Street oO Concluded
Case number City - State ZIP Code

Give Details About Your Business or Connections to Any Business

} 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
D) Asole proprietor or self-employed [n a trade, profession, or other activity, either full-time or part-time

LJ A member of a limited liability company (LLC) or Ilmited liability partnership (LLP)

OC] Apartner in a partnership

wi An officer, director, or managing executive of a corporation

CJ An owner of at least 5% of the voting or equity securities of a corporation

C) No. None of the above applies. Go to Part 12. >
Cl Yes. Check all that apply above and fill in the details below for each business. | coy cos
2 Describe the’ nature: ‘of the business ‘ ie ‘Employer | identifi ication number ee

Lge bo 2 ES AY ee not include Social Security numbér or ITIN...

Business Name

Number Street

‘" Namo of. accountant or bookkeeper...“ one

City State ZIP Code

Describes the nature cf the business

Business Name

Number Street omppe eye map
» Name of accountant

From To

Clty State ZIP Cade

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 51 of 67

Debtor 1 OSCAR

IGLESIAS

First Name Middle Nana Last Name

Case number ¢ known)

Business Name

_ Describe the nature of the business - *

j

. Employer Identification number

~ Bo. fot Include Soclal Security number or ITIN: *

Number Street

City State 2IP Code

_ Name of accountant or bookkeeper: * 5 Dates business existed

From To

institutions, creditors, or other parties.

¥ No

CJ Yes. Fill In the details below.

Name

Number Street

City State ZIP Code

Date Issued *

MM/ DDS ¥¥¥¥

28, Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial

18 U.S.C, §§ 152, 1341, 1519, and 3571.

8 Zo

| have read the answers on this Statement of Financial Affairs and any attachments, and [ declare under penalty of perjury that the
answers are true and correct. | understand that making a faise statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

x EE

Signature of Debtpf

Date

WM No

QC) Yes

wf No
©) Yes. Name of person

Signature of Debtor 2

Date

Did you attach additional pages to Your Statement of Financia! Affairs for individuals Filing for Bankruptcy (Official Form 107)?

Did you pay or agree to pay Someone whe is not an attorney to help you fill out bankruptcy forms?

. Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 52 of 67

MUSE MU Leer lors Cems (cele i hae ae] mers [orem

Debter 4 OSCAR : IGLESIAS
First Name = Middle Name Last Name

Debtor2 DORIS 0 IGLESIAS

{Spause, if fling) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number O) Check if this is an
{If known) . amended filing

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 125

If you are an individual filing under chapter 7, you must fill out this form if:
— creditors have claims secured by your property, or
m you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever {s earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct Information.
Both debtors must sign and date the form.

Be as complete and accurate as possible, If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

List Your Crediters Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
information below,

Identify the creditor and the property that is collateral . What do you‘intend to do with the property that Did you claim the property
oo : secures a debt? as exempt on Schedule C?

Creditors

name: SPECAILIZEZ LOAN SERIVICES CL) Surrender the property. LJ No
ae LY Retain the property and redeem it. wi Yes
propeny of SINGLE PROPERTY HOUSE Q) Retain the property and enter into a
securing debt: ADDRESS 4534 W LAMBRIGHT Reaffirmation Agreement.

TAMPA FL 33614 WI Retain the property and [explain]:

Creditors

name: STOYOTA FIN BDVA OF WO C) Surrender the property. QC) No
en C) Retain the property and redeem it. Wi ves
vopey °F AUTO . C) Retain the property and enter into a

securing debt: Reaffirmation Agreement.

oi Retain the property and [explain]:

Creditors NONE Q Surrender the property. CO No
- U Retain the property and redeem it. W ves

reperty of AUTO CD) Retain the property and enter into a

securing debt: Reaffirmation Agreement.

Md Retain the property and [explain]:

Creditor's C) Surrender the property. Gd No
name:

— C) Retain the property and redeem it. QO ves
covery of QC) Retain the property and enter into a

securing debt: Reaffirmation Agreement.
UO Retain the property and [explain]:

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 53 of 67

Debtor 1 OSCAR IGLESIAS Gase number (if krown)

Firet Name Middle Name Last Name

Era List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you IIsted In Schedule G: Executory Contracts and Unexpired Leases (Officlal Form 1066),
fill In the Information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. ‘§ 365(p)(2).
| Describe your unexpired personal property leases : ., will the lease be assumed?
Lessor’s name: Gd No
Description of leased U1 Yes :
property:
Lessor's name: Ld No
Description of leased U Yes
property:
Lessors name: Wd No
Description of leased CI ves
property:
Lessor’s name: Wd No
C) Yes
Description of leased
property:
Lessor’s name: MA No
Cl Yes
Description of leased
property:
Lessor's name: No
. L] Yes
Description of leased
property:
Lessor's name: Gd No
C] Yes
Description of leased
property:

Ee Sign Below

Under penalty of perjury, [ declare that I have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

a fee _

Signature of Debtor 1 Signature of Debtor 2

Date Date
MMi DD f YY¥Y¥ MMi DD/ ‘YYY¥

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 54 of 67

UMMM eLedeirLielimcemiel-tnidl cae ce] 0] mete

Debtor 1 OSCAR IGLESIAS
First Name Middle Name Last Name
Debtor 2 DORIS oO IGLESIAS
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: Middle District of Florida
Case number CI) Check if this is an
(If known} amended filing

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 i2s

If you are an individual filing under chapter 7, you must fill out this form if:

@ creditors have claims secured by your property, or

@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and Jessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Care st Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
‘information below.

Identify the creditor and the property that is collateral . , - Whatdo you intend to do with the property that Did you claim the property

. secures a debt? | : / ‘as exempt on Schedule C?
Creditor’s NONE CL) Surrender the property. bi No
: nee ——————v—e semen a ee aware: waearcneewnvenss TY Retain the property and redeem it. QO) ves
more of C) Retain the property and enter into a
securing debt: Reaffirmation Agreement.
: C) Retain the property and [explain):
Creditors NONE C) Surrender the property. Md No
a * ee me ee en mee eee Ll] Retain the property and redeem it. DC) ves
Otenethy of Cd Retain the property and enter into a
securing debt: Reaffirmation Agreement.
: L) Retain the property and [explain]:
| riecitor’s NONE CL) Surrender the property. idl No
i mee tremanmnes «6 semen tewermruerracens Seaeciig oe emparnniceroreereneeenerrr-" A) Retain the property and redeem it. O ves
propery of Q Retain the property and enter into a
: securing debt: Reaffirmation Agreement.

Q) Retain the property and [explain]:

; Creditor's
name: NONE CL) Surrender the property. i No
orn etme Saran cena ane oa ne near narnes woes corer veers esra~e TY Retain the property and redeem it. O ves
Description of
oroperty CL) Retain the property and enter into a
securing debt: Reaffirmation Agreement.

CQ) Retain the property and [explain]:

nt are tert MEER ne tate a amt elle en: tae at seen, Sake gO ARSE RE Oe oe EIRE SE adhered ened enaceiamdentine avai ikon mca eri WA cea HE Mme eee ong Bees sania siete alt tae as AE ORAL AE he

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 55 of 67

Debtor 1 OSCAR IGLESIAS Case number (if known)

First Name Middle Name Last Name

Eee List Your Unexpired Personal Property Leases

. For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), ‘
_ fill in the information below. Do not list real estate leases. Unexpired jeases are leases that are still In effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 14 U.S.C. § 365(p)(2).

Describe your unexpired persona} property leases Will the lease be assumed?
Lessors name: NONE MJ No
a. . _ oo ee een ee ane ee oO
Description of leased Yes
property:

Lessor’s name: NONE (4 No
Description of leased es
property:

Lessors name: NONE OINo
Description of leased C1 Yes
property:

Lessor’s name: NONE , O No
we mee es fe ce LU ge ee eat meet men ni ee MM Yes
Description of leased

property:

'_Lessor’s name: NONE bd No
wee ee oe eee eee et cee ee eee eae oO Yes
Description of leased
property:

, _ Lessor's name: NONE if No

Sg eg me oa ane ne meee om nanos ~~~ Dyes

. Descripifon of leased

: property:

Lessor's name: WI No
Re eae erect te pantie erametemerinnmencnis site vnc am oe maa

Description of leased
property:

Under penaity of perjury, I declare that | have indicated my intention about any property of my estate that secures a debt and any
personal property that is subject to an unexpired lease.

te

Signature of Debtor if Signature of Debtor 2

Date Date
MM; DO 7? YYYY¥ MM/ DO? YYYY

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 56 of 67

Mem iieraiercbale imeem ie leit eae ae] ator etd Sear e cee Mi Ratem oi meli Ain

ati yee betel?) te
Debtor 1 OSCAR IGLESIAS
First Name Middle Name Last Name wi 4. There | , resumption of ab
bebtor2 DORIS oO IGLESIAS 7 UNTSEE TS NO Prestumplon oF abuse.
(Spouse; if filing) First Name Middle Name Last Name () 2. The calculation to determine if a presumption of
. ge . = abuse applies will be made under Chapter 7
United States Bankruptcy Court for the: Middle District of Florida Means Test Catculation (Official Form 122A-2)
Case number L) 3. The Means Test does not apply now because of
{lf known) qualified military service but it could apply later.

CJ Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 12/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

Eu Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
Not married. Fill out Column A, linés 2-11.
©) Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

A Married and your spouse is NOT filing with you. You and your spouse are:
LJ Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

C) Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11U. S. C. § 707(b)(7)(B).

Fill in the average monthly income that’ you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example,-if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the-6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not'include any income amount more than once..For example, if both spouses own the same rental property, put the
incame from that property i in-one column only. If you have nothing to report for any line, write $0 in the space.

_ Column A Column B
Debtor 1 Debtor 2 or
: non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions

(before all payrall deductions). $_1,833.00 $
3. Alimony and maintenance payments. Do not include payments from a spouse if 0.00
Column B is filled in. $ : $

4, All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. include regular contributions
from an unmaitied partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is nat
filled in, Do not include payments you listed on line 3. / $__0.00 $

5. Net income from operating a business, profession, “Dabtor 4 . Bebtor 2

orfarm | :

Gross receipts (before all deductions) S ~=—ss &

Ordinary and necessary operating expenses —-$ -$§

Net monthly income from a business, profession, orfamm g Q.00 ¢ LoPyy, 3 0.00 §

6. Net income from rental and other real property Debtor 1 , Debtor 2

Gross receipts (before all deductions) $ $

Ordinary and necessary operating expenses -$ - 5

Net monthly income from rental or other real property g 0.00 5 roy 5 0.00 $

7. Interest, dividends, and royalties

Official Form 1224-1 Chapter 7 Statement of Your Current Monthly Income page 1
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 57 of 67

Debtor 1 OSCAR IG LESIA§ Case number (it known)

First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation § 1,833.00 g

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: eases

FOP YOU ooeececscccccccnneecsssnuneseeeeeecnenensnecensseceecestetsisieenstiersseeeneee 1,833.00
FOr YOUS SPOUSE oon...

9. Pension or retirement income. Do not include any amount. received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the unifonned services. If you received any retired
pay paid under chapter 61 of title 10, then include that pay only to the extent that it
does not exceed the amount of retired pay to which you would otherwise be entitled if 0.00
retired under any provision of title 10 other than chapter 61 of that title. $s $
10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act; payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
States Government in connection with a disability, combat-related injury or disability, or
death of a member of the uniformed services. If necessary, list other sources on a
separate page and put the total below.

Total amounts from separate pages, if any. +5 +3

11. Calculate your total current monthly income. Add lines 2 through 10 for each + =
column. Then add the total for Column A to the total for Column B. ¢ 1,833.00 $ 0.00 g 1,833.00

Total current
EERE vetormine Whether the Means Test Applies te You

monthly Income
12. Calculate your current monthly income for the year. Follow these steps:

12a, Copy your total current monthly income from lim 141. ....ccccssssesesssctsucssersusessrecnseesenessseteuseeesnee COPY line 14 heres $ 1,833.00 |

Multiply by 12 (the number of months in a year). x 12
2b. The result is your annual income for this part of the form. 12b, $ 22,000.00 }
13. Calculate the median family income that applies to you. Follow these steps:
Fill in the state in which you live. 29159.00
Fill in the number of people in your household. 9
Fill in the median family income for your state and size of household, . deasesesseney sccevsneerrsnerscasssnseeneeceradetene TS. $ 29,159.00

To find a list of applicable median income amounts, go online using the link specifie ied i in n the separate
instructions far this form. This list may also be available at the bankruptcy clerk’s office.

14. How do the lines compare?

14a. Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3. Do NOT fill out or file Official Form 1224-2

14b.L] Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 58 of 67

Debtor 4 OSCAR IGLES|4g Case number (if knewn)

First Name Middle Name Last Name

i Sign Below

By signing ere, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

x x Ges

Signature of Debtof 1 Signatur of Debtor 2

Date Date
MM/ DD /YYYY MM/ DD /YYYY

If you checked line 14a, do NOT fill out or file Form 1224-2.
you checked line 14b, fill out Form 1224-2 and file it with this form.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 3
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 59 of 67

AMOR ULMER CRTs Ula intel ares l-t-m Ole aleca] os eos eee CRU ele g e

Wnresaes Ae] eas
Debtor 1 OSCAR IGLESIAS According to the calculations required by
First Name Middle Name Last Name this Statement:
Debtor 2 DORIS oO IGLESIAS
(Spouse, iffiling) First Name Middle Name Last Name wi 1. There is no presumption of abuse.
United States Bankruptcy Court for the: Middle District of Florida CO) 2. There is a presumption of abuse.

Case number
(if known)

©) Check if this is an amended filing

Official Form 122A—2
Chapter 7 Means Test Calculation

04/22

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space

is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the tep of any additional
pages, write your name and case number (if known).

EERIE vetermine Your Adjusted Income

1. Copy your total current monthly INCOME... ei pee eeseseesseeseneee

vastness, COpy line 41 from Official Form 1224-1 here™ g 1,833.33

2. Did you fill out Column B in Part 1 of Form 1224-1?
Wi No. Fill in $0 for the total on line 3.
C] Yes. Is your spouse filing with you?
J No. Go to line 3.
1 Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
household expenses of you or your dependents. Follow these steps:

On line 11, Column B of Form 1224-1, was any amount of the income you reported for your spouse NOT
regularly used for the household expenses of you or your dependents?

WW No. Fill in 0 for the total on line 3.
Qi Yes. Fill in the information below:

State each purpose for which the income was used Fill-in the amount you~
For example, the income is used to pay your.spouse's taxdebt orto support are subtracting from

peopla other than you or your dependents / “your spouse’s income
$
5
+5
Total. ooo eee sees sseceesneseneens cee seeesesseeeesaseaeeerercdscevassrssaeuansareesensessea
§ Copy total here... oS
4, Adjust your current monthly income. Subtract the total on line 3 from line 1. 3 1,833.33
Official Form 1224-2 Chapter 7 Means Test Calculation

page 1
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 60 of 67

Debtor 1 OSCAR IGLESIA§ Case number (sown)

First Name Middle Name Last Name

EE cotcusre Your Deductions from Your Income

The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
this form. This Information may also be available at the bankruptcy clerk's office.

Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
and de not deduct any operating expenses that you subtracted from income in Jines 5 and 6 of Form 1224-1.

If your expenses differ from month to menth, enter the average expense.

Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 1224-1 is filled in.

5. The number of people used in determining your deductions from income

Fill in the number of pecple who could be claimed as exemptions on your federal income tax return,
plus the number of any additional dependents whom you suppart. This number may be different from
the number of people in your household. 2

National-Standards You mustuse the IRS National Standards to answer the questions in lines 6-7; °

6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill 625.00
in the dollar amount for food, clothing, and other items. $_Dev''

7. Qut-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
fill in the dollar amount for out-of-pocket health care. The number of people is split into two cateqories—people who are
under 65 and people who are 65 or older—because older people have a higher IRS allowance for health care costs. If your
actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.

People who are under 65 years of age

7a, Out-of-pocket health care allowance per person

$ 265.00
76, Number of people who are under 65 4
X_t
Jc, Subtotal. Multiply line 7a by line 7b. $____ 265.00 copyheres®  $ 265.00
People who.are 66 years of age or older
. of - Il
7d. Out-of-pocket health care allowance per person 5 40.00
7e, Number of people who are 65 or older x 1
#t. Subtotal. Multiply tine 7d by line 7e. $ 40.00 copyhero> 5 40.00
7g. Total. Add lines 76 ad Th.sss..sssssssssssecseesscttessssssseeeeeecensunsneeseees sesessnssivee $__305.00 | copytotalhere| « 305.00

Official Form 1224-2 Chapter 7 Means Test Calculation page 2
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 61 of 67

Debtor 1 OSCAR IGLES|4g Case number Gf known}

First Name Middle Name Last Name

Local Standards You must use the IRS Local Standards to answer the questions in-lines 8-15.

Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
bankruptcy purposes into two parts:

™ Housing and utilities - Insurance and operating expenses
m@ Housing and utilities - Mortgage or rent expenses

To answer the questions in lines 8-9, use the U.S. Trustee Program chart.

To find the chart, go online using the tink specified in the separate instructions for this form.
This chart may also be available at the bankruptcy clerk’s office.

8. Housing and utilities —- Insurance and operating expenses: Using the number of people you entered in [ine 5, fill in the
dollar amount listed for your county for insurance and operating Expenses... eens sceeee setnenenraaseasaasconsanscocenrerenteraas $ 285.00

9. Housing and utilities — Mortgage or rent expenses:

ga. Using the number of people you entered in line 5, fill in the dollar amount listed

for your county for mortgage Or rent EXPENSES... cesses reeeeeereeeee mere eineer serine $_1,099.00_
9b, Total average monthly payment for all mortgages and other debts secured by your home.
To calculate the total average monthly payment, add all amounts that are
contractually due to each secured creditor in the 60 months after you file for
bankruptcy. Then divide by 60.
Name of the creditor , . Average monthly
: payment
CREDIT CARDS $1,200.00
CREDIT CARDS $ 800.00
+ $
Copy Repeat this
Total average monthly payment g__ 2,000.00 > -3 2,000.00 amount on
here’ line 33a.
9c. Net mortgage or rent expense.
Subtract line 9b (fotal average monthly payment from line 9a (mortgage 0 or $1,099.00 | Soy. $1,099.00
rent expense), lf this amount is fess than $0, enter $0. ............ evvaseseeureeserisanesentees here>
10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects § 0.00
the calculation of your monthly expenses, fill in any additional amount you claim. .
Explain
why:

11.Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

CL} 0. Gotoline 14.
QO) 4. Go to line 12.
L) 2ormore. Go to line 12.

12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area. 3

Official Form 122A-2 Chapter 7 Means Test Calculation page 3

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 62 of 67

Bebtor 1 OSCAR IG LES |Ag Case number (known)

First Name Middle Name Last Name

13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
for each vehicle below. You may not claim the expense If you do not make any loan or lease payments on the vehicle.
In addition, you may not claim the expense for more than two vehicles.

Vehicle 1 Describe Vehicle 1:

13a. Ownership or leasing costs using IRS Local Standard. wo... cesses seceecetneenseeseneeass s___ 9.00
13b. Average monthly payment for all debts secured by Vehicle 1.
Do not include costs for teased vehicles.
To calculate the average monthly payment here and on line 13e, add all
amounts that are contractually due to each secured creditor in the 60 months
after you filed for bankruptcy. Then divide by 60.
Name of each creditor for Vehicle 1 Average monthly
+ payment.
3
+ ¢
Repeat this
Total average monthly payment $ 0.00 > —§ 0.00 — ameunt on
here —_— fine 33b.
. . Copy net
13c, Net Vehicle 1 ownership or lease expense Vehicle 1
Subtract line 13b from line 13a. If this amount is less than $0, enter $0. 00.0... g__——9.00 expense
here... > $
Vehicle 2 Describe Vehicle 2:
13d. Ownership or leasing costs using IRS Local Standard. «0... ees csssssessesenseteeeerereneeeee $ 0.00
13e. Average monthly payment for all debts secured by Vehicle 2.
Do not include costs for leased vehicles.
Name of each creditor for Vehicle 2 Average monthly
* payment
$ 0
+ §
Repeat this
Total average monthly payment $ 00 crys —3 00 = amounton
here — line 3c,
Copy net

13f. Net Vehicle 2 ownership or lease expense
Subtract fine 13e from 13d. If this amount is less than $0, enter $0... eee

Vehicle 2
S$ 0.00 expense

14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
Public Transportation expense allowance regardless of whether you use public transportation. $

15, Additional! public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
more than the IRS Local Standard for Public Transportation. 3

here... > $k

0.00

0.00

0.00

Official Form 122A—2 Chapter 7 Means Test Calculation page 4
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 63 of 67

Debtor 1 OSCAR IGLES| 4g Case number Granown)

First Name Middle Name Last Name

Other Necessary Expenses in.addition to'the expense deductions listed above, you are allowed your monthly expenses for
the following IRS categories.

a

16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your 3 0.00
pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and —
subtract that number from the total monthly amount that is withheld to pay for taxes.

Do not include real estate, sales, or use taxes.

17. involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
union dues, and uniform costs. 0.00

Do not include amounts that are not required by your job, such as voluntary 401(k} contributions or payroll savings. $

18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than term. $ 0.00

19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
agency, such as spousal or child support payments.

Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

s__ 0.00

20, Education: The total monthly amount that you pay for education that is either required:
# as a condition for your job, or 0.00
@ for your physically or mentally challenged dependent child if no public education is available for similar services. $_ AN

21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.

Do not include payments for any elementary or secondary school education. $__0.00

22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for heaith care that
is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
health savings account. Include only the amount that is more than the total entered in line 7.
Payments for health insurance or health savings accounts should be listed only in line 25. $___ 0.00

23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it + § 85.00
is not reimbursed by your employer.

Do not include payments jor basic home telephone, intemet and cell phone service. Do not include self-employment
expenses, such as those reported on line 5 of Official Form 1224-1, or any amount you previously deducted.

24. Add all of the expenses allowed under the IRS expense allowances.
Add lines 6 through 23.

Official Form 122A—2 Chapter 7 Means Test Calculation page §

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 64 of 67

Debtor + OSCAR IGLES|4§ Case number dtknawn}

Firet Name Middle Name Last Name

Additional Expense Deductions These aré additional deductions allowed by the Means Test...
Note: Do net include any expense allowances listed in, lines 6-24.

25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
insurance, disability insurance, and health savings accounts that are reasanably necessary for yourself, your spouse, or your
dependents.

Health insurance
Disability insurance

Health savings account +

A, ow tf

Total Copy total here eee eee $

Do you actually spend this tatal amount?

4 No. How much do you actually spend? $
C) Yes

26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
continue to pay for the reasonable and necessary care and support of an elderly, chranically ill, or disabled member of your $
household or member of your immediate family who is unable to pay for such expenses. These expenses may include
contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).

27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of

you and your family under the Family Violence Prevention and Services Act or other federal laws that apply. $
By law, the court must keep the nature of these expenses confidential.
28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
if you believe that you have home energy costs that are more than the home energy costs included in expenses on line
8, then fill in the excess amount of home energy casts. $

You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
claimed is reasonable and necessary.

29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $189,58*
per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
elementary or secondary school. $
You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in lines 6-23.

* Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on of after the date of adjustment.

30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher $
than the combined food and clothing allowances in the IRS National Standards. That amount cannct be more than 5% of the
food and clothing allowances in the IRS National Standards.
To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
this form. This chart may also be available at the bankruptey clerk’s office.
You must show that the additional amount claimed is reasonable and necessary.

31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial + $
instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-{2).

32. Add all of the additional expense deductions. $
Add lines 25 through 31,

Official Form 122A—2 Chapter 7 Means Test Calculation page 6

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 65 of 67

Debtor 4 OSCAR IGLES 14g Case number {itknown}

First Name Middle Name ‘Last Name

Deductions for Debt Payment

33, For debts that are secured by an interest in property that you own, including home mortgages, vehicle

loans, and other secured debt, fill in lines 33a through 33e.

To calculate the total average monthly payment, add all amounts that are contractually due to each secured

creditor in the 60 months after you file for bankruptcy. Then divide by 60,

Average monthly

Mortgages on your home: payment
33a. Copy fine 9D NOTE .....ccccccsssssessssssssssssssssssssaseassesseesssscesecseecseeeuapennenaerneenensesaneeneneneneereeseeee g__ 2,000.00
Loans on your first two vehictes:
B3b. Copy lime 13D NETO. oe.eccceccceccsssssssssessssssennerscteetecesseccegseeonsevonansunvananivarsaesevinersneeiseeeseeeeses SD 5 0.00
33. COPY Hine ABE MELE. ae. cc ccecccececsscecendasccscceccescegcencennceneccsnnrsavarsasssnansereneestssssereeceeeee SD $ 00
33d. List other secured debts:
Name of each creditor for other Identify property that Does payment
secured debt Doe secures the debt. © . include taxes
: : or insurance?
UL) No $
LJ Yes
Ch No §
1} Yes
CL] No #5
O yes
33e, Total average monthly payment. Add lines 33a through 33d... cee 8 0.00 a $ 0.00
34, Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
or other property necessary for your support or the support of your dependents?
O1 No. Go toline 35.
C3 Yes. State any amount that you must pay to a creditor, in addition te the payments
fisted in line 33, to keep possession of your property (called the cure amount).
Next, divide by 60 and fill in the information below.
Name of the creditor Identify property that Total cure . Monthly cure
secures the debt: amount _ amount:
3 +60= $
$ +60= $.
$ +60= +3
Copy total
Total §. here> $
35. Do you owe any priority claims such as a priority tax, child support, or alimony —
that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
UO) No. Go te line 36.
CJ Yes. Fill in the total amount of all of these priority claims. Do not include current or
ongoing priority claims, such as those you listed in tine 19.
Total amount of all past-due priority ClalIMS ....... ee scsssseetetesssssssscneteccegeetteereteaees $ 0.00... 60 = 5 0.00
page 7

Official Form 1224-2 Chapter 7 Means Test Calculation
Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 66 of 67

Debtor 1 OSCAR IGLES 4g Case number tFknown)

First Name Middle Name Last Newme

36. Are you eligible to file a case under Chapter 137 11 U.S.C. § 109(e).
For more information, go online using the link for Bankruptcy Basics specified in the separate
instructions for this form. Bankrupicy Basics may also be available at the bankruptcy clerk’s office.

wi No. Go to line 37.
C) Yes. Fill in the following information.

Projected monthly plan payment if you were filing under Chapter 13 $

Current raultiplier for your district as stated onthe list issued by the

Administrative Office of the United States Courts (for districts in Alabama and

North Carolina) or by the Executive Office for United States Trustees (for all

other districts). x

To find a list of district multipliers that includes your district, go online using the
link specified in the separate instructions for this form. This list may also be
available at the bankruptcy clerk's office.

ae : . ' Copy total
Average monthly administrative expense if you were filing under Chapter 13 $ > $
37. Add all of the deductions for debt payment. ~ $ 0.00
Add lines 33e through 36, .......seccscssssecsesssssssnensesnssssssssessessceeneresessseesecassaneaentessescaesttaesenaueneeensessnaasaesasedecensatesssesaaereseas tnaanentt
Total Deductions from Income
38. Add all of the allowed deductions.
Copy line 24, All of the expenses allowed under IRS 5
expense allowances ... ceeapeenesennseyenvesenneqeraeaneys
Copy line 32, All of the additional expense deducfions........... 4
Copy line 37, Alf of the deductions for debt payment... FS
Total deductions $ Gopy total here oe $
Determine Whether There is a Presumption of Abuse
39. Calculate monthly disposable income for 60 months
39a. Copy line 4, adjusted current monthly income ..... $ 1,833.33
39b, Copy line 38, Total deductions.......... -$
39c, Monthly disposable income. 11 U.S.C. § 707(b}(2). § Copy $
Subtract line 39b from line 39a. here>
For the mext 80 months (5 years)... cessssssesssnssssersesbeseccssessessesssenssessnssssanenssenseanetatsacaccasensseecsensa x 60
. . Copy
39d. Total. Multiply line 39¢ by 60. oe issenceeenarseeseessssscbassuacbessssssscsssssnsesnesmesneaestsasnecssersciacseeapecte $ here™> §
40, Find out whether there is a presumption of abuse. Check the box that applies:
CY The line 39d is less than $9,075". On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to
Part 5.
UL] The line 39d is more than $15,150". On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
may fill out Part 4 if you claim special circumstances. Then go to Part 5.
C) The line 39d is at least $9,075", but not more than $4 §,150*. Go to line 41.
* Subject to adjustment on 4/01/25, and every 3 years after that for cases filed on or after the date of adjustment.
Official Form 1224—2 Chapter 7 Means Test Calculation page 8

Case 8:24-bk-03371-CPM Doc1 Filed 06/14/24 Page 67 of 67

Debtor 4 OSCAR ISLESI4g

Case number (known),

First Name Middle Name Last Name

41, 41a, Fillin the amount of your total nonpriority unsecured debt. If you filled out A
Summary of Your Assets and Liabilities and Certain Statistical information Schedules

(Official Form 106Sum), you may refer to line 3b on that fOrim. eee eects eee reetee reeset 0.00
x .25
41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A) CI) (I). 0.00 {Cory §

Multiply line 412 bY 0.25. ccsecscssneumumeeuuniiuniuniuaiiunnuniuuueinnn, | ———— jhered

0j00

42. Determine whether the income you have left over after subtracting all allowed deductions
is enough to pay 25% of your unsecured, nonpriority debt.

Check the box that applies:

LI Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
Go to Part 5, ‘

L) Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.

Cu Give Details About Special Circumstances

43.Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

a No. Go to Part 5.

CJ] Yes. Fill in the following information. All figures should reftect your average monthly expense or income adjustment
for each item. You may include expenses you listed in line 25.

You must give a detailed explanation of the special circumstances that make the expenses or income

adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
expenses or income adjustments.

Give a detalled explanation of the special circumstances : Average monthly expense
. or income adjustment

§,

Ea Sign Below

By signing here, | declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

Ke lk

Signature of Debtor1 Signature of Deblor2 SS a
Date Date
MM/DD 7 YYYY MM/DD /YYYY

Official Form 1224-2 Chapter 7 Means Test Calculation page 9
